  Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 1 of 36

                                                                                                        Page 1
723 F.2d 335, 38 Fed.R.Serv.2d 443
(Cite as: 723 F.2d 335)




                                                                    170BVIII(E) Proceedings for Transfer of
                                                          Case
         United States Court of Appeals,                             170Bk665 Notice, Writ of Error or Cita-
                  Third Circuit.                          tion
The FIRST JERSEY NATIONAL BANK, Appellee                               170Bk668 k. Time for Filing in Gener-
    in No. 82-5620, Appellant in No. 82-5662,             al. Most Cited Cases
                        v.                                     Court of Appeals has no jurisdiction to hear ap-
  DOME PETROLEUM LIMITED and Dome En-                     peal if appellant files its notice of appeal while
ergy Limited, Appellants in No. 82-5620, Appellees        there is pending timely motion to alter or amend
                 in No. 82-5662.                          judgment. Fed.Rules Civ.Proc.Rules 4(a), 59, 59(e),
                                                          28 U.S.C.A.
             Nos. 82-5620, 82-5662.
              Argued July 15, 1983.                       [2] Federal Courts 170B        668
             Decided Dec. 19, 1983.
 Rehearing and Rehearing In Banc Denied Jan. 17,          170B Federal Courts
                     1984.                                    170BVIII Courts of Appeals
                                                                    170BVIII(E) Proceedings for Transfer of
     Bank serving as depositary for tender offer          Case
funds brought action against tender offeror for in-                  170Bk665 Notice, Writ of Error or Cita-
demnification. The United States District Court for       tion
the District of New Jersey, Herbert J. Stern, J.,                      170Bk668 k. Time for Filing in Gener-
granted partial summary judgment directing offeror        al. Most Cited Cases
to indemnify bank, and offeror appealed. The Court             Where bank filed its notice of appeal from or-
of Appeals, Seitz, Chief Judge, held that: (1) bank's     der denying its claim for legal fees and disburse-
breach of the depositary agreement was not                ments before district court disposed of bank's
“deliberate and intentional misconduct” within            timely motion for reconsideration of that order, no-
meaning of exclusion from indemnification provi-          tice of appeal was a nullity and Court of Appeals
sion, and (2) Court of Appeals lacked jurisdiction        lacked jurisdiction over the appeal. Fed.Rules
over bank's appeal from district court order denying      Civ.Proc.Rules 4(a), 59, 59(e), 28 U.S.C.A.
bank's claim for legal fees and disbursements where
bank filed its notice of appeal before district court     [3] Federal Courts 170B        766
disposed of bank's motion for reconsideration.
                                                          170B Federal Courts
    Partial summary judgment affirmed; bank's ap-            170BVIII Courts of Appeals
peal dismissed.                                                 170BVIII(K) Scope, Standards, and Extent
                                                                   170BVIII(K)1 In General
    Joseph S. Lord, III, District Judge, sitting by                     170Bk763 Extent of Review Depend-
designation, filed a dissenting opinion.                  ent on Nature of Decision Appealed from
                                                                            170Bk766 k. Summary Judgment.
                  West Headnotes
                                                          Most Cited Cases
[1] Federal Courts 170B        668
                                                          Federal Courts 170B         802
170B Federal Courts
                                                          170B Federal Courts
   170BVIII Courts of Appeals
                                                             170BVIII Courts of Appeals




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 2 of Page
                                                                       36 2
723 F.2d 335, 38 Fed.R.Serv.2d 443
(Cite as: 723 F.2d 335)




      170BVIII(K) Scope, Standards, and Extent              fer, provision clearly and unambiguously covered
          170BVIII(K)3 Presumptions                         loss resulting from bank's breach of contract in that,
                 170Bk802 k. Summary Judgment.              even though the provision did not specifically refer
Most Cited Cases                                            to breaches of contract by bank, it did refer to mis-
     On review of summary judgment, Court of Ap-            conduct by bank when it explicitly excluded from
peals determines whether record as it stands reveals        coverage bank's intentional and deliberate miscon-
any disputed issue of material fact, assumes resolu-        duct.
tion of any such issue in favor of nonmovant, and
determines whether movant is then entitled to judg-         [7] Indemnity 208        33(2)
ment as matter of law.
                                                            208 Indemnity
[4] Contracts 95       1                                       208II Contractual Indemnity
                                                                   208k33 Particular Cases and Issues
95 Contracts                                                               208k33(2) k. Contract Liability. Most
   95I Requisites and Validity                              Cited Cases
       95I(A) Nature and Essentials in General                 (Formerly 208k8.1(2.1), 208k8.1(2))
          95k1 k. Nature and Grounds of Contractu-              Under indemnification provision in depositary
al Obligation. Most Cited Cases                             agreement between tender offeror and bank serving
    Under New Jersey law, parties to commercial             as depositary of funds with which to pay the tender
transaction have great latitude in their preferred al-      offer which excluded from coverage bank's
location of risks of loss.                                  “deliberate and intentional misconduct,” uninten-
                                                            tional results of bank employees' intentional acts of
[5] Indemnity 208          31(4)                            stopping time stamping of acceptance letters by ten-
                                                            dering shareholders and permitting issuance of
208 Indemnity
                                                            checks to tendering shareholders despite knowledge
    208II Contractual Indemnity
                                                            of protest of shareholders whose timely acceptance
        208k31 Construction and Operation of Con-
                                                            of the tender offer had been rejected by the bank
tracts
                                                            did not constitute “deliberate and intentional mis-
            208k31(4) k. Subject-Matter in General.
                                                            conduct.”
Most Cited Cases
    (Formerly 208k8(1))                                     [8] Indemnity 208        111
     Under New Jersey law, broadly worded indem-
nification clause need not also recite specific sorts       208 Indemnity
of loss within its coverage.                                    208VI Rights and Remedies of Indemnitor
                                                                   208k111 k. Discharge. Most Cited Cases
[6] Indemnity 208          33(2)                                (Formerly 208k12)
                                                                 Tender offeror's obligation to indemnify bank
208 Indemnity
                                                            serving as depositary for tender offer funds when
   208II Contractual Indemnity
                                                            bank breached the agreement by failing to include
      208k33 Particular Cases and Issues
                                                            shareholders whose acceptances were received on
             208k33(2) k. Contract Liability. Most
                                                            last day of proration period in determining amounts
Cited Cases
                                                            to be paid to accepting shareholders was not dis-
   (Formerly 208k8(3))
                                                            charged by bank's failure to attempt to recover
    Under indemnification provision in depositary
                                                            overpayments made to the other accepting share-
agreement between tender offeror and bank serving
                                                            holders where tender offeror did not condition its
as depositary for funds with which to pay tender of-
                                                            indemnification on requirement that bank take par-




                            © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 3 of Page
                                                                       36 3
723 F.2d 335, 38 Fed.R.Serv.2d 443
(Cite as: 723 F.2d 335)




ticular steps to remedy loss, tender offeror ex-                       OPINION OF THE COURT
pressly declined to direct bank's choice of remedy         SEITZ, Chief Judge.
after the harm occurred, and bank acted with advice                                   I.
of its counsel in choosing its course of action.                In this diversity case, Dome Petroleum Limited
                                                           and Dome Energy Limited (“Dome”) appeal an or-
[9] Subrogation 366        41(4)                           der granting a partial summary judgment which dir-
                                                           ects Dome to indemnify The First Jersey National
366 Subrogation
                                                           Bank (“First Jersey”). Dome also appeals *337 the
    366k41 Actions and Other Proceedings for En-
                                                           district court's order denying its motion for permis-
forcement
                                                           sion to file a counterclaim against First Jersey for
       366k41(4) k. Parties. Most Cited Cases
                                                           breach of a depositary agreement. The district court
     Question whether tender offeror's liability as
                                                           certified both orders under Fed.R.Civ.P. 54(b). This
indemnitor of bank serving as depositary for tender
                                                           court has jurisdiction over Dome's appeals under 28
offer funds for bank's breach of the agreement
                                                           U.S.C. § 1291 (1976).
should be offset by offeror's subrogation to bank's
insurance claim against its liability carrier could not         First Jersey appeals the district court's order
be determined in suit to which the carrier was not a       denying First Jersey's claim for legal fees and out-
party since, because subrogation claim involved            of-pocket disbursements incurred in negotiating the
carrier's liability, carrier was indispensable party to    depositary agreement and in litigating this action in
resolution of the claim.                                   the district court. The district court denied this mo-
                                                           tion by an order dated October 20, 1982. It also cer-
*336 Lee N. Abrams (Argued), Lynne M. Rai-
                                                           tified the order under Fed.R.Civ.P. 54(b). On Octo-
mondo, Mayer, Brown & Platt, Chicago, Ill., for
                                                           ber 21, 1982, First Jersey served a timely notice of
appellants in No. 82-5620 and appellees in No.
                                                           its motion for reconsideration. First Jersey filed a
82-5662.
                                                           notice of appeal from the district court's order with
Morrill J. Cole, Steven R. Klein, Cole, Schotz,            respect to fees and disbursements on October 27,
Bernstein, Meisel & Forman, P.A., Rochelle Park,           1982. The district court denied First Jersey's motion
N.J., for appellants in No. 82-5620 and appellees in       for reconsideration on December 8, 1982.
No. 82-5662.
                                                                [1][2] This court has no jurisdiction to hear an
Joseph J. Fleischman (Argued), Bronna G. Levin,            appeal if the appellant files its notice of appeal
Robert P. Zoller, Hannoch, Weisman, Stern, Besser,         while there is pending a timely motion made pursu-
Berkowitz & Kinney, P.A., Newark, N.J., for ap-            ant to Fed.R.Civ.P. 59. Griggs v. Provident Con-
pellee in No. 82-5620 and appellant in No.                 sumer Discount Company, 459 U.S. 56, 103 S.Ct.
82-5662.                                                   400, 403, 74 L.Ed.2d 225 (1982); Dougherty v.
                                                           Lehman, 711 F.2d 555, 558-60 (3d Cir.1983). Al-
                                                           though Rule 59 does not explicitly mention motions
Before SEITZ, Chief Judge, SLOVITER, Circuit               for reconsideration, this court has held that for pur-
                                FN*
Judge and LORD, District Judge.                            poses of Rule 4(a), a motion for reconsideration
                                                           qualifies as a motion under Rule 59(e) to alter or
         FN* Honorable Joseph S. Lord, III, United         amend a judgment. Richerson v. Jones, 572 F.2d
         States District Judge for the Eastern Dis-        89, 93 (3d Cir.1978). Because First Jersey filed its
         trict of Pennsylvania, sitting by designa-        notice of appeal before the district court disposed of
         tion.                                             First Jersey's timely motion for reconsideration, this
                                                           premature notice of appeal was a “nullity.” Griggs,




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 4 of Page
                                                                       36 4
723 F.2d 335, 38 Fed.R.Serv.2d 443
(Cite as: 723 F.2d 335)




103 S.Ct. at 403. First Jersey did not file a notice of         On the last day of the proration period, First
appeal after the district court denied its motion for      Jersey had stopped stamping the incoming letters of
reconsideration. We will therefore dismiss First Jer-      transmittal and other documents to indicate the date
sey's appeal for want of jurisdiction.                     and time of receipt. The unstamped tenders in-
                                                           cluded approximately 605,000 shares tendered by
                        II.                                the State Street Bank and approximately 116,000
     This action for indemnification arises from a         shares tendered by seventeen others.*338 We will
complex and unfortunate chain of events. Dome              refer collectively to these tenderors as the “State
made a public offering to buy between 14 and 22            Street Group.” Because these shares were properly
million shares of Conoco, Inc. (“Conoco”). First           tendered on May 26, First Jersey should have in-
Jersey served as the depositary for the tender offer.      cluded them in its calculation of the proration
Under the depositary agreement (the “Agreement”),          factor, transferred a percentage of the State Street
First Jersey had numerous duties, including the            Group's shares to Dome, and sent checks to the
duty to time-stamp incoming letters of transmittal         State Street Group on June 10. First Jersey did none
and other documents, and the duty to transfer the          of these things. Instead, the shares that Dome
tendered shares to Dome and to pay the tenderors in        should have purchased from the State Street Group
accordance with the terms of Dome's offer to pur-          were purchased in a pro rata proportion from 9,000
chase.                                                     other tenderors, and the amounts properly due the
                                                           State Street Group were scattered in 9,000 direc-
     Conoco shareholders deluged First Jersey with
                                                           tions.
tenders in response to Dome's offer. On May 26,
1981, the number of Conoco shares tendered was                 Under the incorrect formula that First Jersey
more than twice as great as the maximum number             employed, Dome purchased at the offering price
of 22 million shares that Dome offered to purchase.        40.26% of the shares tendered by each of the 9,000
In such circumstances, section 14(d)(6) of the Se-         shareholders, whereas it should have purchased
curities Exchange Act, 15 U.S.C. § 78n(d)(6)               39.74% of these shares, plus 39.74% of the shares
(1976), requires a tender offeror to purchase an           tendered by each member of the State Street Group.
equal percentage of each tenderor's shares, if those       While the offering price was $65 per share, the
shares were tendered prior to the expiration of the        market price at the time of Dome's purchase was
proration period.                                          $53. Thus, each of the 9,000 tenderors received a
                                                           benefit of $12 per share for the .52% of their
     May 26 was the last day of the proration period
                                                           tendered shares that Dome should not have pur-
for Dome's offer to purchase, which explicitly
                                                           chased. This benefit totalled approximately $3.5
provided for proration in the event of oversubscrip-
                                                           million.
tion. As part of First Jersey's contractual duty to de-
liver the Conoco shares to Dome and to pay the ten-             One or two days before First Jersey mailed the
dering shareholders, First Jersey determined which         checks to the other timely tenderors, State Street
shares were validly tendered before the proration          Bank had called First Jersey to protest First Jersey's
period expired and calculated the proration factor.        return of State Street Bank's shares as untimely
On June 10, 1981, First Jersey mailed checks to the        tenders. Teresa Ernst, an Administrative Assistant
approximately 9,000 shareholders who had                   in First Jersey's Special Services Department,
tendered their Conoco shares before the expiration         checked First Jersey's records, and on the following
of the proration period. The amount paid to each           day, she told State Street Bank that she had found
shareholder depended on the number of shares that          no record of their claimed May 26 delivery. The
Dome purchased from the shareholder, based on              next day, which Ernst identified as the day on
First Jersey's proration calculations.




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 5 of Page
                                                                       36 5
723 F.2d 335, 38 Fed.R.Serv.2d 443
(Cite as: 723 F.2d 335)




which First Jersey mailed the checks, State Street         ine whether the record as it stands reveals any dis-
Bank told Ernst that it would send a copy of its           puted issue of material fact, assume the resolution
Brink's receipt for the delivery of the shares. This       of any such issue in favor of the non-movant, and
receipt arrived the day after the checks went out,         determine whether the movant is then entitled to
and it was then that First Jersey determined that the      judgment as a matter of law. See, e.g., Hollinger v.
tender had been timely.                                    Wagner Mining Equipment Company, 667 F.2d
                                                           402, 405 (3d Cir.1981).
     First Jersey immediately notified its insurance
carrier and Dome, and these parties and counsel                                      III.
discussed various possible remedies. Counsel con-               First Jersey does not dispute that it breached an
tacted the Securities and Exchange Commission to           explicit contractual requirement when it stopped
advise them of the problem and the proposed solu-          time-stamping *339 tenders received before the
tions. The SEC's primary concern seems to have             proration period expired. For purposes of reviewing
been that all timely tenderors be treated equally.         the partial summary judgment, we assume that First
                                                           Jersey's failure to time stamp, or its failure to ascer-
     First Jersey decided to pay the State Street          tain before it mailed checks to the 9,000 tenderors
Group the difference between the offering price and        that State Street Bank's tender was timely, caused it
the market price for a portion of the shares tendered      to calculate the erroneous proration factor and
by each member of the Group. This portion was de-                                                             FN2
                                                           caused the erroneous purchases and payments.
termined by the same incorrect proration factor            We will also assume that these mispayments
(40.26%) that First Jersey had applied to all the oth-     breached First Jersey's duty under the Agreement to
er timely tenderors. First Jersey mailed checks            deliver shares to Dome and to deliver the purchase
totalling approximately $3.5 million to the State          price to timely tenderors, pursuant to the terms of
Street Group and demanded reimbursement from               Dome's offer to purchase. The question is whether
Dome pursuant to the indemnification clause in             under an indemnification clause in the Agreement,
paragraph 16.1 of the Agreement.                           Dome must bear the loss caused by First Jersey's
                                                           “misconduct.”
     When Dome refused to pay, First Jersey
entered into a loan receipt agreement with its in-                  FN2. Because we must assume disputed is-
surer, Employer's Insurance of Wausau, which                        sues of material fact in Dome's favor, we
provided that the insurer would loan First Jersey                   need not consider First Jersey's contention
approximately $3.5 million, to be repaid only to the                that the loss occurred at least in part be-
extent that First Jersey is able to recover from a                  cause Dome rushed First Jersey through
third party (Dome). First Jersey instituted this ac-                the proration calculations to make certain
tion for indemnification to recover the amounts                     that Dome would be able to close a deal
                                FN1
paid to the State Street Group.                                     with Conoco on June 10.

         FN1. Although by the terms of the loan re-            The parties agreed that the Agreement would
         ceipt agreement, First Jersey's insurer has       be construed and enforced in accordance with New
         an interest in any recovery, it is not sug-       Jersey law.
         gested that this action is not being main-
         tained in the name of the real party in in-       A. Indemnification for Breaches of Contract.
         terest.                                                Dome contends that the meaning of the indem-
                                                           nification clause is a question of fact, wrongly re-
     [3] On review of a summary judgment, we do            solved in First Jersey's favor on the motion for
as the district court was required to do: we determ-       summary judgment before the district court. Al-




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 6 of Page
                                                                       36 6
723 F.2d 335, 38 Fed.R.Serv.2d 443
(Cite as: 723 F.2d 335)




though this court would agree with Dome that as a          have great latitude in their preferred allocation of
general rule the meaning of a contract is a question       risks of loss. See, e.g., Berry v. V. Ponte & Sons,
of fact, Landtect Corporation v. State Mutual Life         166 N.J.Super. 513, 517, 400 A.2d 114, 116
Assurance Company, 605 F.2d 75, 79 (3d Cir.1979)           (App.Div.1979), cert. denied, 84 N.J. 389, 420
, New Jersey courts apparently begin from a differ-        A.2d 317 (1980); Buscaglia v. Owens-Corning
ent premise, see Trucking Employees of North Jer-          Fiberglas, 68 N.J.Super. 508, 172 A.2d 703, 707
sey Welfare Fund v. Vrablick, 177 N.J.Super. 142,          (App.Div.1961), aff'd on other grounds, 36 N.J.
148, 425 A.2d 1068, 1071 (App.Div.1980) (“The              532, 178 A.2d 208 (1962); Cozzi v. Owens Corning
construction of a written agreement is ordinarily a        Fiber Glass Corporation, 63 N.J.Super. 117, 125,
matter for the court ....”). Both courts agree,            164 A.2d 69, 74 (App.Div.1960); Doloughty v.
however, that a clear and unambiguous contractual          Blanchard Construction Company, 139 N.J.Super.
                                                                                                            FN3
provision raises no factual issue. Landtect, 605 F.2d      110, 115, 352 A.2d 613, 616 (Law Div.1976).
at 79; Vrablick, 177 N.J.Super. at 148, 425 A.2d at        Furthermore,*340 under New Jersey law a broadly
1071.                                                      worded indemnification clause need not also recite
                                                           the specific sorts of loss within its coverage. As the
    The indemnification clause under which First           Cozzi court explained, because commercial parties
Jersey brought this action provides:                       now commonly shift their contractual risk of loss to
                                                           insurance companies, strict construction of an in-
     [Dome] hereby covenants and agrees to indem-
                                                           demnity provision is anachronistic. 63 N.J.Super. at
nify and hold [First Jersey] harmless from and
                                                           125, 164 A.2d at 74.
against any and all claims, actions, judgments,
damages, losses, liabilities, costs and expenses of                 FN3. Dome supposes that these cases do
any nature whatsoever (including without limitation                 not apply to losses resulting from the in-
attorney's fees), arising directly or indirectly from,              demnitee's actions. See Brief for Appel-
out of or incident to this Agreement and/or oral in-                lants at 32. To the contrary, the indemnit-
structions delivered to [First Jersey] pursuant to this             ee's actions were the sole cause of the
Agreement. This indemnity shall exclude only in-                    harm in Cozzi and the concurrent cause of
tentional and deliberate misconduct on [First Jer-                  the harm in Doloughty.
sey's] part. [Dome] shall be subrogated to, and en-
titled to assert, any claim which [First Jersey] may            Under the indemnity clause in Cozzi, a con-
have against any third party with respect to any           tractor indemnified a company (the “Owner”)
items reimbursed to [First Jersey] hereunder by            against damages resulting from accidents that might
[Dome].                                                    befall the contractor or its employees while they
                                                           worked on the Owner's property, “ ‘whether occa-
    Agreement ¶ 16.1.                                      sioned by said Contractor or his employees or by
                                                           Owner or his employees or any other person or per-
    Dome claims that paragraph 16.1 is ambiguous
                                                           sons....' ” 63 N.J.Super. at 122, 164 A.2d at 72. The
because it does not explicitly state that Dome in-
                                                           contractor argued that the clause was inapplicable
demnifies First Jersey for a loss resulting from First
                                                           to losses resulting from accidents caused by the
Jersey's breach of the Agreement. In the alternative,
                                                           Owner's negligence. The Cozzi court held that be-
Dome argues that if paragraph 16.1 is unambigu-
                                                           cause the clause referred to accidents caused by the
ous, it does not cover First Jersey's breaches of the
                                                           Owner, it clearly and unambiguously covered acci-
Agreement.
                                                           dents caused by the owner's negligence even though
    [4][5] Under a clear line of contemporary New          it did not specifically refer to such accidents. Id.
Jersey cases, parties to a commercial transaction          We recognize that Cozzi discusses indemnification




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 7 of Page
                                                                       36 7
723 F.2d 335, 38 Fed.R.Serv.2d 443
(Cite as: 723 F.2d 335)




against negligence, not indemnification against            ectly from, out of or incident to this Agreement
breaches of contract. Nevertheless, it is a useful ex-     and/or oral instructions delivered to [First Jersey]
ample of how New Jersey courts will find unam-             pursuant to this Agreement.” Dome argues that un-
biguous an indemnification clause that does not            der Brewster, these words require, as a condition
specifically state the kinds of harm that it covers.       prerequisite to indemnification, that First Jersey act
                                                           in accordance with the Agreement. This argument
     [6] Paragraph 16.1 of the Agreement does not          ignores the Brewster court's acknowledgment that
specifically refer to breaches of contract by First        indemnification for breaches of contract may be
Jersey. It does, however, refer to misconduct by           provided by “a clear and unequivocal expression to
First Jersey when it explicitly excludes from its          that end.” 17 N.J. at 33, 109 A.2d at 811. Because
coverage “ only [First Jersey's] intentional and de-       we hold that paragraph 16.1 clearly and unequivoc-
liberate misconduct ....” (Emphasis added.) We             ally covers a loss that results from a breach of the
therefore hold that paragraph 16.1, clearly and un-        Agreement by First Jersey, we agree with the dis-
ambiguously, covers a loss resulting from First Jer-       trict court that Brewster is consistent with the im-
sey's breach of contract, provided that First Jersey       position of liability on Dome.
did not engage in intentional and deliberate miscon-
duct.                                                      B. First Jersey's Culpability and Dome's Liability.
                                                                [7] Paragraph 16.1 explicitly exempts indemni-
     Dome relies on a case from the Supreme Court          fication against First Jersey's “intentional and delib-
of New Jersey and calls to our attention the fact that     erate misconduct.” Dome argues that whether First
cases such as Berry, Buscaglia, and Cozzi were de-         Jersey's misconduct was intentional and deliberate
cided by the Appellate Division. In George M.              *341 is a disputed issue of material fact. Dome of-
Brewster & Son v. Catalytic Construction Com-              fers evidence that Anthony Rotella, an Assistant
pany, 17 N.J. 20, 109 A.2d 805 (1954), the lessee          Manager at First Jersey, intentionally ordered First
of a heavy duty crane boom indemnified the lessor          Jersey employees to stop time-stamping on the last
“ ‘against all loss, damage, expense and penalty           day of the proration period even though he was
arising from any action on account of personal in-         aware of the importance of the procedure. Dome
jury or damage to property occasioned by the oper-         also offers evidence to show that Teresa Ernst, the
ation and handling of this equipment....’ ” 17 N.J. at     Administrative Assistant to whom State Street Bank
25, 109 A.2d at 807. The Brewster court held:              complained, intentionally permitted First Jersey to
                                                           issue the checks on June 10, even though she knew
     The significant words would seem to be
                                                           that if State Street Bank's protest were justified, the
“operation and handling” .... And this postulates as
                                                           payments would be inaccurate.
an inherent term of the contract the provision of a
crane and boom reasonably suitable and safe for the              Accepting Dome's contentions as true for the
stipulated use when delivered to the indemnitor,           purposes of reviewing the summary judgment, we
and certainly a breach of this condition prerequisite,     nevertheless agree with the district court that First
rendering the indemnitee directly liable in damages        Jersey's misconduct was not intentional and deliber-
for his own negligence, would not be within the                 FN4
                                                           ate.      The court in Lyons v. Hartford Insurance
coverage of the indemnity clause, absent a clear and       Group, 125 N.J.Super. 239, 310 A.2d 485
unequivocal expression to that end.                        (App.Div.1973), cert. denied, 64 N.J. 322, 315
                                                           A.2d 411 (1974), held that New Jersey's public
    17 N.J. at 32, 109 A.2d at 811.
                                                           policy of denying insurance indemnity for losses
   Dome points out that paragraph 16.1 of the              resulting from intentional wrongdoing did not pre-
Agreement covers losses “arising directly and indir-       clude indemnification against “the unintended res-




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 8 of Page
                                                                       36 8
723 F.2d 335, 38 Fed.R.Serv.2d 443
(Cite as: 723 F.2d 335)




ults of an intentional act.” 125 N.J.Super. at 245,        policy argument in the district court. We address it
310 A.2d at 488. “[T]he distinction between inten-         only because it is strongly akin to (if not an amal-
ded and unintended results of intentional acts is          gamation of) two other public policy arguments
well recognized,” Lyons, 125 N.J.Super., at 247,           which the district court answered and which Dome
310 A.2d at 489, and this distinction requires Dome        does not pursue. We will assume for purposes of re-
to indemnify First Jersey, under the terms of para-        viewing the partial summary judgment that First
graph 16.1, for the unintentional results of Rotella's     Jersey's conduct was reckless, willful, or grossly
                               FN5
and Ernst's intentional acts.        Because Dome          negligent.
does not claim that First Jersey intended to overpay
some tenderors or to fail to pay others, no factual             The district court noted the vital distinction
issue with respect to intentional misconduct pre-          between exculpation and indemnification and held
cludes summary judgment for First Jersey.                  that while public policy may preclude contractual
                                                           exculpation for reckless, willful, or grossly negli-
         FN4. Dome's counsel filed an affidavit            gent conduct, it is not offended by indemnification
         with the district court to show why Dome          against such conduct. See 6A Corbin on Contracts §
         could not present facts essential to its op-      1472 n. 52 (Supp.1964); cf. Hanover Insurance
         position to First Jersey's motion for partial     Group v. Cameron, 122 N.J.Super. 51, 298 A.2d
         summary judgment. See Fed.R.Civ.P. 56(f)          715 (Chanc.Div.1973) (insurance for negligent and
         . On appeal, Dome protests that the district      wanton conduct). The loss at issue is the $3.5 mil-
         court abused its discretion by denying            lion loss suffered by the State Street Group. We
         Dome's request for adjournment of the             will assume for purposes of reviewing the summary
         hearing on First Jersey's motion pending          judgment that First Jersey's gross negligence or
         the completion of Dome's discovery. Given         willful misconduct caused this loss. First Jersey did
         the assumptions that are made in Dome's           not deny its liability to the State Street Group or
         favor, we cannot say that the district court      seek exculpation. Rather, having made good the
         abused its discretion by refusing to adjourn      loss, it sought indemnification from Dome for a
         so that Dome could further explore how            loss to a third party for which First Jersey was li-
         and why the mispayment occurred.                  able but which it *342 did not intentionally or de-
                                                           liberately cause. In such circumstances, paragraph
         FN5. The rule in Lyons won the explicit           16.1 requires indemnity.
         approval of Justice Pashman in Ambassad-
         or Ins. Co. v. Montes, 76 N.J. 477, 488-90,            The most persuasive case in Dome's favor is
         388 A.2d 603, 609-10 (1978) (Pashman, J.,         Swisscraft Novelty Company v. Alad Realty Cor-
         concurring), and it is routinely applied in       poration, 113 N.J.Super. 416, 274 A.2d 59
         the Appellate Division, see, e.g., Garden         (App.Div.1971). Under the commercial lease in
         State Fire & Cas. Co. v. Keefe, 172               Swisscraft the lessee both exculpated the lessor and
         N.J.Super. 53, 57, 410 A.2d 718, 720              indemnified it for losses occurring on the leased
         (App.Div.), cert. denied, 84 N.J. 389, 420        premises. However, only the lessee (and not some
         A.2d 317 (1980).                                  third party) had been injured, and the court focused
                                                           exclusively on the exculpatory provision when it re-
    Dome argues in the alternative that even if First      manded on public policy grounds to permit a new
Jersey's conduct was not intentional and deliberate,       action for gross negligence and willful and wanton
it was reckless, willful, or grossly negligent. Dome                                                   FN6
                                                           misconduct. Thus, Swisscraft is inapposite.
contends that public policy requires courts to void
the contractual indemnification of such conduct. It                FN6. We need not decide whether indem-
is not clear that Dome raised this particular public               nification would be contrary to public




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 9 of Page
                                                                       36 9
723 F.2d 335, 38 Fed.R.Serv.2d 443
(Cite as: 723 F.2d 335)




         policy if First Jersey's acts constituted         made misrepresentations to Dome about the course
         gross negligence or willful misconduct and        of action that First Jersey decided to pursue. Dome
         First Jersey were a defendant in an action        argues, however, that First Jersey failed to follow
         under the federal securities laws.                Dome's instructions in the wake of the disaster.

C. Discharge of the Obligation to Indemnify.                    After First Jersey discovered the overpayments,
     [8] Dome argues that First Jersey had a legal         First Jersey and Dome discussed two recovery
obligation to attempt to recover the overpayments          plans that First Jersey might follow: it could stop
to the 9,000 tenderors. According to Dome, First           payment on the checks sent to 9,000 tenderors and
Jersey's failure to minimize the loss in this manner       issue new checks for a lesser amount; or it could re-
discharged Dome's obligations as an indemnitor un-         fuse to return the tenderors' unpurchased shares un-
der paragraph 16.1 because First Jersey's course of        til they repaid the overpayments. We will assume
action increased Dome's risk of loss.                      for the purposes of reviewing the summary judg-
                                                           ment that First Jersey and Dome also considered
     First Jersey did nothing to prejudice Dome's          whether First Jersey might recover the overpay-
rights or increase its risk of loss, as these terms are    ments by simply requesting their return. The parties
used in the cases that Dome cites. See, e.g., General      also discussed the possibility of making the State
Insurance Company of America v. Fleeger, 389               Street Group whole, without attempting to recover
F.2d 159, 161 & n. 3 (5th Cir.1968) (in inducing in-       the overpayments.
demnification, indemnitee misrepresented the de-
gree of risk; indemnitee also increased indemnitor's            In its correspondence through counsel, Dome
risk by continuing to issue bonds to defaulting con-       took great pains “not [to] presume to direct [First
tractors); American Casualty Company v. Idaho              Jersey] to follow any particular course of action.”
First National Bank, 328 F.2d 138 (9th Cir.1964)           Although Dome then stated that retention of the un-
(indemnification given on condition that indemnitor        purchased shares pending the return of the overpay-
receive a security interest in certain property, which     ments “appears to be most consistent with the in-
indemnitee subsequently dissipated); Hiern v. St.          structions given [First Jersey] in the Depositary
Paul-Mercury Indemnity Company, 262 F.2d 526               Agreement....,” id. at 703, we have examined the
(5th Cir.1959) (indemnitor agreed to indemnify             Agreement, and we see no indication whatsoever
against payments that indemnitee might make as             that the Agreement*343 required First Jersey to re-
surety on contracts; indemnitor learned that funds         fuse to return unpurchased shares in the event of an
due as payments under the contracts were being di-         overpayment. After the harm occurred, Dome ex-
verted; indemnitor requested indemnitee to take            pressly declined to direct First Jersey's choice of a
steps to halt the diversion, and indemnitee falsely        remedy. Under these circumstances, Dome cannot
told indemnitor it had done so). In each of these          be heard to say that First Jersey prejudiced Dome's
cases, the indemnitor had good reason to believe           rights or increased its risk of loss.
that the potential loss it was risking was less than
the loss that actually occurred. If an indemnitee is            Furthermore, we agree with the district court
responsible for putting the indemnitor in such a pre-      that because Dome and Dome's counsel failed to in-
carious position, the indemnification may be dis-          struct First Jersey to follow any particular course of
charged.                                                   action, and because First Jersey acted with the ad-
                                                           vice of its counsel, First Jersey is indemnified un-
     Nothing in the Agreement suggests that Dome           der paragraph 12.7 of the Agreement against the
conditioned its indemnification on the requirement         consequences of its chosen remedy. Paragraph 12.7
that First Jersey take particular steps to remedy a        provides:
loss, and Dome does not contend that First Jersey




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 10 of 36
                                                                     Page 10
723 F.2d 335, 38 Fed.R.Serv.2d 443
(Cite as: 723 F.2d 335)




     [First Jersey] may consult with counsel satis-        against any third party with respect to any items re-
factory to [First Jersey] (including Mayer, Brown &        imbursed to [First Jersey] hereunder by [Dome].”
Platt, United States counsel for [Dome], and Ben-          Dome argued in the district court, as it argues here,
nett Jones, Canadian counsel for [Dome] ), and the         that if Dome is liable as First Jersey's indemnitor,
advice or opinion of such counsel shall be deemed          its liability should be offset by its subrogation to
full and complete authorization by [Dome], which           First Jersey's insurance claim against Employer's of
shall protect and indemnify [First Jersey] in respect      Wausau. Dome also argues that if a settlement
of any action taken, suffered or omitted by [First         between First Jersey and its insurer has barred
Jersey] hereunder in good faith and in accordance          Dome's subrogation claim, the settlement dis-
with such advice or opinion of such counsel; ...           charges Dome's liability under the indemnity
                                                           clause.
    Given Dome's refusal to direct First Jersey's
choice of a remedy, it cannot be said that First Jer-           The district court held that Dome's interpreta-
sey did not act in good faith in choosing one of the       tion of the subrogation clause is not plausible be-
several remedies that it had discussed with Dome.          cause if Dome were subrogated to First Jersey's
                                                           right against its insurer, it would defeat the parties'
     Dome also refers to First Jersey's duty to mitig-     intent that Dome, as indemnitor, bear the risk of
ate or minimize the loss by attempting to recover          loss. We disagree. It is at least arguable that the
the overpayments. Assuming without deciding that           parties intended Dome to indemnify First Jersey
First Jersey had such a duty, New Jersey courts            only against losses not covered by First Jersey's in-
would not require First Jersey to have done more           surance policy. However, the posture in which this
than was reasonable or prudent under the circum-           issue is presented precludes its resolution.
stances. See, e.g., McDonald v. Mianecki, 79 N.J.
275, 298, 398 A.2d 1283, 1295 (1979); Stark v. Na-              Dome did not plead its subrogation claim or
tional Research and Design Corporation, 33                 move to join Employer's of Wausau. Thus, we can-
N.J.Super. 315, 323, 110 A.2d 143, 147                     not reach the “merits” of the subrogation claim. Nor
(App.Div.1954). Given First Jersey's compliance            do we believe that the so-called offset claim can be
with the prerequisites for indemnification under           recognized in this action.
paragraph 12.7, it cannot be said that a reasonable
or prudent party would have done more than First                *344 We conclude that the subrogation claim
Jersey did.                                                must be asserted in an action to which the insurance
                                                           carrier is a party. The subrogation claim involves
D. Dome's Counterclaim for Breach of Contract.             the insurer's possible liability, and we deem it an
     After the district court granted First Jersey's       indispensable party to the resolution of such a
motion for partial summary judgment, Dome                  claim.
moved for leave to file a counterclaim against First
Jersey for First Jersey's breach of the Agreement.              As to Dome's contention that the settlement
The district court denied the motion because it con-       between the insurance carrier and First Jersey ef-
sidered the counterclaim to be equivalent to the de-       fected a discharge of Dome's liability, the short an-
fenses that Dome raised and the court rejected in          swer is that the merits of that claim can only be ef-
First Jersey's action. We agree.                           fectively determined in an action to which the in-
                                                           surance carrier is a party. Otherwise, the insurance
E. Subrogation to First Jersey's Insurer.                  carrier will not have the opportunity to advance its
     [9] Paragraph 16.1 of the Agreement provides          position with respect to the legal effect of its agree-
                                                                                   FN7
that Dome “shall be subrogated to, and entitled to         ment with First Jersey.
assert, any claim which [First Jersey] may have




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 11 of 36
                                                                     Page 11
723 F.2d 335, 38 Fed.R.Serv.2d 443
(Cite as: 723 F.2d 335)




        FN7. Dome protests that the district court        ion as well as that in Ambassador Insurance Com-
        abused its discretion by denying Dome's           pany v. Montes, 76 N.J. 477, 388 A.2d 603 (1978),
        request for adjournment of the hearing on         and which governs the results in those cases, is that
        First Jersey's motion for partial summary         insurance companies should provide broad cover-
        judgment pending the completion of                age to innocent victims of insureds.
        Dome's discovery with respect to First Jer-
        sey's insurer and insurance broker. Our dis-           In order to reconcile these competing policies,
        position of the subrogation issue moots           the Lyons court articulated a definition of intent dif-
        this contention.                                  fering from that appearing in § 8A of the Restate-
                                                          ment (Second) of Torts. Lyons held that even where
                          IV.                             there is an exclusionary clause for the intentional
     We will affirm the partial summary judgment          wrongdoing of the insured, insurance coverage ex-
for indemnification. We will affirm the order deny-       ists for “the unintended results of an intentional act,
ing Dome's motion for leave to file a counterclaim.       but not for damages assessed because of an injury
We will dismiss for want of jurisdiction First Jer-       which was intended to be inflicted.” Thus, Judge
sey's premature appeal from the order denying its         Meanor in Lyons would not deny coverage to the
claim for attorney's fees.                                innocent victim of an insured who fired a revolver
                                                          with the intention to shoot over the victim's head.
JOSEPH S. LORD, III, District Judge, dissenting.          In his concurring opinion in Ambassador, Justice
     I agree with the conclusions of the majority (1)     Pashman explained that the heightened intent stand-
that we have no jurisdiction to consider First Jer-       ard adopted by Judge Meanor in Lyons would grant
sey's appeal; (2) that the indemnification clause         insurance coverage to the victims of an insured
covers breach of contract; (3) that First Jersey was      who, having no subjective intent to injure the vic-
under no duty to minimize its losses; (4) that the        tims, set fire to his property in order to collect the
denial of leave to Dome to file a counterclaim was        insurance money, knowing that it was extremely
proper; (5) that there is no basis on this record for     likely that the victims were asleep in the building.
us to consider the merits of Dome's subrogation           Justice Pashman rejected the use of the Restate-
claim.                                                    ment's definition of intent for insurance policy
                                                          cases. He defended his use of the Lyons' “intent”
     However, I would deny plaintiff's motion for
                                                          rather than the Restatement definition in insurance
summary judgment because I believe that there is a
                                                          cases because the Lyons definition is the prevailing
jury question as to whether Rotella's and Ernst's
                                                          one used by the courts in that class of case and,
activities constituted “intentional and deliberate
                                                          *345 more importantly, because the Lyons defini-
misconduct.”
                                                          tion of intent furthers public policy. He stated:
     The majority's reliance on the standard enunci-
                                                               Since one purpose of such insurance is to pro-
ated in Lyons v. Hartford Insurance Group, 125
                                                          tect injured third parties, as between the liability in-
N.J.Super. 239, 310 A.2d 485 (App.Div.1973), cert.
                                                          surer of a culpable actor and an innocent third party
denied, 64 N.J. 322, 315 A.2d 411 (1974), in my
                                                          it is the better policy to place the risk of loss with
judgment, is misplaced. In Lyons, the court reiter-
                                                          the insurer where intent to injure is unclear.
ated the public policy of New Jersey that an insurer
will not indemnify an individual for damages                  Ambassador Insurance Co. v. Montes, 76 N.J.
caused by his own intentional wrongdoing. The ob-         477, 489, 388 A.2d 603, 609 (1978) (Pashman, J.,
vious purpose of this policy is to avoid any incent-      concurring).
ive to the insured to commit wrongful acts. A com-
peting policy that runs throughout the Lyons opin-            Justice Pashman's reasoning and language




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 12 of 36
                                                                     Page 12
723 F.2d 335, 38 Fed.R.Serv.2d 443
(Cite as: 723 F.2d 335)




clearly limit the use of the Lyons definition to cases              is more favorable to coverage.” Buntin v.
involving the liability of insurance companies un-                  Continental Insurance Company, 583 F.2d
der insurance policies. The majority in Ambassad-                   1201, 1207 (3d Cir.1978) (emphasis in ori-
or, although not adopting Justice Pashman's opin-                   ginal).
ion, stressed that its purpose for granting coverage
was a public policy one-compensation of innocent                Applying the principle of contract interpreta-
third party victims where the insured, the wrongdo-        tion that words having “a generally prevailing
er, did not benefit from the protection afforded by        meaning”, will be interpreted “in accordance with
the insurance. Ambassador Insurance Co. v.                 that meaning”, Restatement (Second) of Contracts §
Montes, 76 N.J. 477 at 486, 388 A.2d at 606. We do         202(3)(a), the exclusion of indemnification for
not have the Ambassador situation in the case be-          losses resulting from “intentional and deliberate
fore us. In First Jersey there is no innocent third        misconduct” on First Jersey's part does not justify
party who is an injured victim. Moreover, the very         the application of the Lyons definition of intent.
“wrongdoer” is the party seeking compensation.
                                                                First of all, the language in the clause in ques-
Therefore, extending New Jersey law to apply the
                                                           tion here does not focus on the injury, but rather it
Lyons definition of intent to this case will further
                                                           requires that the misconduct be intentional and de-
no public policy. Moreover, such an extension
                                                           liberate. Furthermore, even if there were a question
would contravene the principle of freedom of con-
                                                           as to whether the contract required that the injury
tract.
                                                           be specifically intended, since First Jersey drafted
     The insurance industry and insurance coverage         the indemnification clause, any ambiguity must be
itself are suffused with public interest. Companies        construed against First Jersey. In re F.H. McGraw
are regulated by the state; the language, coverages        and Company, 473 F.2d 465, 469 (3d Cir.1973).
and exclusions are governed by state law. Insurance
                                                                Consequently, I would apply the definition of
is generally a contract of adhesion and, most im-
                                                           intent normally employed in civil cases. As set
portant, while ostensibly designed to protect the in-
                                                           forth in § 8A of the Restatement (Second) of Torts,
sured from harm, is in reality, to compensate an in-
                                                           the word “intent” is used “to denote that the actor
nocent and injured victim. In the interpretation of
                                                           desires to cause the consequences of his act, or that
insurance policies, there is a public policy factor in
                                                           he believes that the consequences are substantially
the whole process. None of these considerations is
                                                           certain to result from it,” (emphasis added).
present here.
                                                                According to the Restatement definition, there-
     In the case before us, there is an arm's length
                                                           fore, if a party knows that an intentional act will
contract between two entities of equal bargaining
                                                           have a given result or that the result is substantially
power. Nor does the state have any policy interest
                                                           certain, and that party nevertheless proceeds to act,
in the indemnity clause. In this situation, it is clear
                                                           a jury *346 could find that the result was intention-
that the parties could choose to allocate the risk of
                                      FN1                  al. In the absence of the need to protect innocent
loss to whichever party they pleased.
                                                           third parties, I think that New Jersey would hold
         FN1. There is ample legal precedent for           that the intentional act with foreseeable, if not fore-
         treating insurance contracts differently          seen consequences, falls within the exclusion in the
         from other contracts entered into by entit-       contract.
         ies with equal bargaining power. “It is
                                                               It is clear that First Jersey stopped time-
         settled that any ambiguity or contradiction
                                                           stamping the incoming tendered materials twice:
         in an insurance policy must be construed
                                                           once in the middle of the offer period and on May
         against the insurer, and in a manner which




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 13 of 36
                                                                     Page 13
723 F.2d 335, 38 Fed.R.Serv.2d 443
(Cite as: 723 F.2d 335)




26, 1981, the last day of the period. It is also undis-
puted that Jan Viise, the vice-president in charge of
marketing plaintiff's depositary services, told An-
thony Rotella, the supervisor of floor operations on
First Jersey's depositary projects, that all tendered
materials had to be time-stamped. Rotella admits
that he ordered his personnel to discontinue time-
stamping on May 26, 1981. Teresa Ernst, a super-
visor of the Dome depositary project, admits that
she was aware that the time-stamping was stopped
on May 26, and that State Street notified her before
she mailed out the prorated checks on June 10,
1981 that it had a Brinks receipt dated May 26,
1981 to prove that more than 600,000 shares
tendered by it had been rejected improperly. Fur-
thermore, Ernst admitted that when she sent out the
checks on June 10, 1981, she was aware of the con-
sequences that would occur if State Street's tenders
were rejected improperly. Thus, Ernst knew that
there would be an overpayment if State Street's
claim was valid, and she nevertheless mailed the
checks. From these facts, a jury could conclude that
she intended that there be an overpayment because
she knew that overpayment was “substantially cer-
tain to result” from her intentional act of mailing
out the payments. I believe that a jury should have
the opportunity to determine First Jersey's right to
indemnity.

C.A.N.J.,1983.
First Jersey Nat. Bank v. Dome Petroleum Ltd.
723 F.2d 335, 38 Fed.R.Serv.2d 443

END OF DOCUMENT




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 14 of 36

641 N.E.2d 395                                                                                                Page 1
161 Ill.2d 433, 641 N.E.2d 395, 204 Ill.Dec. 171, 9 IER Cases 1261
(Cite as: 161 Ill.2d 433, 641 N.E.2d 395, 204 Ill.Dec. 171)




                                                                   217k2912 Determination of Duty
                                                                       217k2914 k. Pleadings. Most Cited Cases
             Supreme Court of Illinois.                         (Formerly 217k514.10(1))
 DIXON DISTRIBUTING COMPANY, Appellee,                           Insurer's duty to defend arises if complaint al-
                         v.                                  leges facts that fall within, or potentially within,
   HANOVER INSURANCE COMPANY et al.                          policy's coverage.
  (International Insurance Company, Appellant).
                                                             [3] Insurance 217        2914
                    No. 75675.
                   May 26, 1994.                             217 Insurance
           Rehearing Denied Oct. 3, 1994.                       217XXIII Duty to Defend
                                                                    217k2912 Determination of Duty
     Employer being sued for retaliatory discharge                      217k2914 k. Pleadings. Most Cited Cases
brought declaratory judgment action against its in-             (Formerly 217k514.10(1))
surers. The Circuit Court, Madison County, Daniel                 Refusal to defend is unjustifiable unless it is
J. Stack, J., entered summary judgment in favor of           clear from face of underlying complaint that allega-
insurers, and the Appellate Court affirmed in part,          tions fail to state facts that bring case within, or po-
reversed in part and remanded, 244 Ill.App.3d 837,           tentially within, policy's coverage.
183 Ill.Dec. 919, 612 N.E.2d 846. Leave to appeal
by one insurer was allowed. The Supreme Court,               [4] Insurance 217        2275
Miller, J., held that provisions of liability policy ex-
cluding coverage for offenses committed with actu-           217 Insurance
al malice could not be construed to exclude cover-              217XVII Coverage--Liability Insurance
age for retaliatory discharge, because actual malice                217XVII(A) In General
is not an element of retaliatory discharge.                             217k2273 Risks and Losses
                                                                             217k2275 k. Accident, Occurrence or
    Affirmed.                                                Event. Most Cited Cases
                                                                (Formerly 217k435.32)
                   West Headnotes                                 Complaint against insured employer alleging
                                                             that employee's wrongful termination was
[1] Insurance 217        2914
                                                             “intentional” could not be construed to allege actual
217 Insurance                                                malice so as to exclude coverage under provisions
   217XXIII Duty to Defend                                   of liability policy defining covered “occurrence” to
       217k2912 Determination of Duty                        exclude any offense committed with actual malice.
          217k2914 k. Pleadings. Most Cited Cases
                                                             [5] Insurance 217        1832(1)
   (Formerly 217k514.10(1))
     Insurer's duty to defend is determined by com-          217 Insurance
paring allegations in underlying complaint to relev-            217XIII Contracts and Policies
ant provisions of insurance policy.                                 217XIII(G) Rules of Construction
                                                                          217k1830 Favoring Insureds or Benefi-
[2] Insurance 217        2914
                                                             ciaries; Disfavoring Insurers
217 Insurance                                                               217k1832 Ambiguity, Uncertainty or
   217XXIII Duty to Defend                                   Conflict
                                                                                217k1832(1) k. In General. Most




                            © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 15 ofPage
641 N.E.2d 395
                                                                        36 2
161 Ill.2d 433, 641 N.E.2d 395, 204 Ill.Dec. 171, 9 IER Cases 1261
(Cite as: 161 Ill.2d 433, 641 N.E.2d 395, 204 Ill.Dec. 171)




Cited Cases                                                                  231Hk771 k. In General. Most Cited
   (Formerly 217k146.7(8))                                   Cases
    Although ambiguities in insurance policy will               (Formerly 255k30(6.10) Master and Servant)
be construed against insurer, courts will not distort             To state valid claim for retaliatory discharge,
language of policy to create an ambiguity where              plaintiff must establish that he was discharged, in
none exists.                                                 retaliation for his activities, and that discharge viol-
                                                             ated clear mandate of public policy.
[6] Insurance 217       2275
                                                             [9] Labor and Employment 231H              773
217 Insurance
    217XVII Coverage--Liability Insurance                    231H Labor and Employment
       217XVII(A) In General                                    231HVIII Adverse Employment Action
           217k2273 Risks and Losses                                231HVIII(A) In General
                217k2275 k. Accident, Occurrence or                      231Hk770 Exercise of Rights or Duties;
Event. Most Cited Cases                                      Retaliation
    (Formerly 217k435.32)                                                  231Hk773 k. Motive, Intent, and Pre-
     Complaint against insured employer alleging             text in General. Most Cited Cases
that employee's termination was in retaliation for              (Formerly 255k30(6.10) Master and Servant)
filing workers' compensation claims could not be                  Actual malice is not an element of a retaliatory
construed to allege that employer acted with actual          discharge claim.
malice so as to exclude coverage under provisions
of liability policy defining covered “occurrence” to         [10] Insurance 217         2261
exclude any offense committed with actual malice.
                                                             217 Insurance
[7] Insurance 217       2275                                    217XVII Coverage--Liability Insurance
                                                                   217XVII(A) In General
217 Insurance                                                          217k2261 k. Public Policy Limitations in
    217XVII Coverage--Liability Insurance                    General. Most Cited Cases
       217XVII(A) In General                                    (Formerly 217k139)
          217k2273 Risks and Losses
               217k2275 k. Accident, Occurrence or           Insurance 217        2318
Event. Most Cited Cases
                                                             217 Insurance
    (Formerly 217k435.32)
                                                                 217XVII Coverage--Liability Insurance
     Provisions of employer's liability policy ex-
                                                                     217XVII(B) Coverage for Particular Liabilit-
cluding coverage for offenses committed with actu-
                                                             ies
al malice could not be construed to exclude cover-
                                                                        217k2317 Employers' Liabilities
age for retaliatory discharge, because actual malice
                                                                             217k2318 k. In General. Most Cited
is not an element of retaliatory discharge.
                                                             Cases
[8] Labor and Employment 231H            771                     (Formerly 217k139)
                                                                  Interpreting employer's liability policy as
231H Labor and Employment                                    providing coverage against retaliatory discharge
   231HVIII Adverse Employment Action                        claims did not violate any established public policy
      231HVIII(A) In General                                 in Illinois.
            231Hk770 Exercise of Rights or Duties;
Retaliation                                                  [11] Insurance 217         2102




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 16 ofPage
641 N.E.2d 395
                                                                        36 3
161 Ill.2d 433, 641 N.E.2d 395, 204 Ill.Dec. 171, 9 IER Cases 1261
(Cite as: 161 Ill.2d 433, 641 N.E.2d 395, 204 Ill.Dec. 171)




217 Insurance                                                (Massachusetts), and International Insurance Com-
   217XV Coverage--in General                                pany (International), must defend and indemnify it
       217k2096 Risks Covered and Exclusions                 against the underlying retaliatory discharge action.
                217k2102 k. Willful, Intentional or          The circuit court entered summary judgment in fa-
Wrongful Conduct. Most Cited Cases                           vor of defendants, finding there could be no insur-
   (Formerly 217k139)                                        ance coverage for the underlying claim and, hence,
    Contract of insurance to indemnify a person for          no duty to defend on the part of the various insur-
damages resulting from his own intentional miscon-           ance companies. The appellate court affirmed in
duct is void as against public policy, and courts will       part, reversed in part and remanded. ( 244
not enforce such a contract.                                 Ill.App.3d 837, 183 Ill.Dec. 919, 612 N.E.2d 846.)
                                                             We allowed International's*436 petition for leave to
[12] Appeal and Error 30         1082(2)                     appeal (134 Ill.2d R. 315(a)) and now affirm the
                                                             judgment of the appellate court.
30 Appeal and Error
   30XVI Review                                                                      FACTS
      30XVI(L) Decisions of Intermediate Courts                   The facts in this case are not in dispute. Han-
          30k1081 Questions Considered                       neken filed a retaliatory discharge action against
             30k1082 Scope of Inquiry in General             Dixon, alleging that he had suffered two work-re-
                   30k1082(2) k. Considering Ques-           lated injuries during his employment with Dixon
tions Not Raised or Passed Upon in Intermediate              and had filed separate workers' compensation
Court. Most Cited Cases                                      claims for each. Hanneken further alleged that Dix-
    Insurer, by failing to raise it in Appellate             on's president, who was also a named defendant,
Court, waived argument on appeal to Supreme                  “exhibited bias and prejudice against [him] in the
Court that retaliatory discharge claim alleged will-         exercise of his rights as an employee under the
ful violation of penal statute and thus was not a            Worker's Compensation Act,” and his discharge
covered “occurrence” under employer's liability              from employment was a “wilful, intentional and
policy.                                                      wrongful” act in violation of section 4(h) of the
                                                             Workers'       Compensation       Act     (Act)      (
**396***172*435 Jeffrey S. Hebrank and Donald
                                                             Ill.Rev.Stat.1985, ch. 48, par. 138.4(h)) and the
J. Ohl, Burroughs, Hepler, Broom, MacDonald &
                                                             public policy of Illinois. The complaint sought
Hebrank, Chicago, for appellant.
                                                             Hanneken's reinstatement to a “suitable position”
John Dale Stobbs, James S. Sinclair and John D.              and compensatory and punitive damages. This com-
Stobbs II, Stobbs & Sinclair, Alton, for appellee.           plaint **397 ***173 was later dismissed, and Han-
                                                             neken filed an amended complaint. The amended
                                                             complaint alleged that Hanneken's discharge and
Justice MILLER delivered the opinion of the court:           Dixon's refusal to rehire him was “intentional and
     This appeal involves a coverage dispute                 in retaliation of and solely for the exercise of [his]
between plaintiff, Dixon Distributing Co. (Dixon),           rights under the Illinois Worker's Compensation
and one of its insurers. The dispute originated              Act in violation of the * * * public policy of the
between the parties when Patrick Hanneken filed a            State of Illinois.” This complaint again sought Han-
retaliatory discharge action against Dixon. Dixon            neken's reinstatement to a “suitable position” and
thereafter sought a declaratory judgment that de-            compensatory and punitive damages.
fendants, Commercial Union Insurance Company
(Commercial), Hanover Insurance Company                          Following initiation of the suit, Dixon tendered
(Hanover), Massachusetts Bay Insurance Company               defense of the underlying action to defendants un-




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 17 ofPage
641 N.E.2d 395
                                                                        36 4
161 Ill.2d 433, 641 N.E.2d 395, 204 Ill.Dec. 171, 9 IER Cases 1261
(Cite as: 161 Ill.2d 433, 641 N.E.2d 395, 204 Ill.Dec. 171)




der a package of comprehensive commercial insur-             of coverage for the tort of retaliatory discharge. (
ance policies that it had purchased simultaneously           244 Ill.App.3d at 841, 183 Ill.Dec. 919, 612 N.E.2d
from defendants. Hanover initially defended Dixon,           846.) The appellate court, however, found that the
under a reservation of rights, but later withdrew and        insurance policy issued by International potentially
discontinued all defense. International and Mas-             covered the tort of retaliatory discharge. In reaching
sachusetts refused entirely to defend Dixon, con-            this determination, the court disagreed with Belt-
tending that their policies excluded from coverage           mann and held that *438 actual malice was not an
the tort of retaliatory discharge *437 and, even if          element of the tort. ( 244 Ill.App.3d at 849, 183
their policies did not exclude it, the public policy of      Ill.Dec. 919, 612 N.E.2d 846.) Consequently, Inter-
Illinois would preclude insurance against such an            national could not rely on the definition of
act. Although Commercial represented Dixon in                “occurrence” in its policy, which excluded cover-
connection with the workers' compensation claims,            age for offenses committed with actual malice, to
it similarly refused to defend Dixon in the instant          exclude coverage. The court then went on to con-
action. Because of defendants' refusal to defend it,         sider whether this potential coverage violated pub-
Dixon instituted this declaratory judgment action,           lic policy. For various reasons, it concluded it did
seeking a declaration that one or all of defendant           not. ( 244 Ill.App.3d at 850-53, 183 Ill.Dec. 919,
insurance companies had a duty to defend and in-             612 N.E.2d 846.) As a result, the appellate court
demnify it in the underlying retaliatory discharge           held International breached its duty to defend Dix-
action.                                                      on in the action. (244 Ill.App.3d at 853-54, 183
                                                             Ill.Dec. 919, 612 N.E.2d 846.) While the appeal
     Relying primarily on the Seventh Circuit's              was pending, the underlying retaliatory discharge
opinion in United States Fire Insurance Co. v. Belt-         action was dismissed pursuant to a settlement
mann North American Co. (7th Cir.1989), 883 F.2d             agreement. (See 244 Ill.App.3d at 840, 183 Ill.Dec.
564, which held that actual malice was a compon-             919, 612 N.E.2d 846.) The appellate court did not
ent of a retaliatory discharge claim in Illinois and         reach the indemnification issue.
that an insurance policy excluding offenses com-
mitted with actual malice necessarily excluded cov-               We allowed International's petition for leave to
erage for a retaliatory discharge claim, the circuit         appeal (134 Ill.2d R. 315(a)) and, for the reasons
court ruled in favor of defendants on the parties'           that follow, affirm the judgment of the appellate
cross-motions for summary judgment. Following                court. The primary issues on appeal are whether,
the opinion in Beltmann, the circuit judge found             under the terms of International's insurance policy,
there could be no insurance coverage for damages             International owed a duty to defend Dixon against
involved in a retaliatory discharge action. With no          the retaliatory discharge claim, and if so, whether
possibility of coverage for the underlying claim, the        public policy prohibits such coverage. Because the
judge found no duty to defend on the part of de-             appellate court found Hanover and Massachusetts
fendants.                                                    did not have a duty to defend and Dixon did not ap-
                                                             peal this ruling, we are **398 ***174 not called
     Dixon appealed the judgment, except as it ap-           upon to decide whether coverage existed under
plied to Commercial, and the appellate court af-             these policies.
firmed in part, reversed in part, and remanded. (
244 Ill.App.3d 837, 183 Ill.Dec. 919, 612 N.E.2d                                 DISCUSSION
846.) It summarily upheld the circuit court's ruling                          A. Duty to Defend
granting summary judgment in favor of Hanover                    [1][2][3] In Illinois, an insurer's duty to defend
and Massachusetts, reasoning that it was clear from          is determined by comparing the allegations in the
their policies that neither included any possibility         underlying complaint to the relevant provisions of




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 18 ofPage
641 N.E.2d 395
                                                                        36 5
161 Ill.2d 433, 641 N.E.2d 395, 204 Ill.Dec. 171, 9 IER Cases 1261
(Cite as: 161 Ill.2d 433, 641 N.E.2d 395, 204 Ill.Dec. 171)




the insurance policy. ( Outboard Marine Corp. v.               miliation which occurs during the policy sus-
Liberty Mutual Insurance Co. (1992), 154 Ill.2d 90,            tained by a natural person, but excluding any
107-08, 180 Ill.Dec. 691, 607 N.E.2d 1204; United              such injury included within the definition of ad-
States Fidelity & Guaranty Co. v. Wilkin Insulation            vertising liability.”
Co. (1991), 144 Ill.2d 64, 73, 161 Ill.Dec. 280, 578
N.E.2d 926.) An insurer's duty to defend arises if                With respect to personal injury, the policy
the complaint alleges facts that fall within, or po-         defines “occurrence” as “an offense which results
tentially *439 within, the policy's coverage. (              in Personal Injury, other than an offense committed
Wilkin, 144 Ill.2d at 73, 161 Ill.Dec. 280, 578              with actual malice or the willful violation of a penal
N.E.2d 926; Zurich Insurance Co. v. Raymark In-              statute or ordinance committed by or with the
dustries, Inc. (1987), 118 Ill.2d 23, 52, 112 Ill.Dec.       knowledge or consent of the insured.” The policy
684, 514 N.E.2d 150.) Refusal to defend is unjusti-          does not include a definition of actual malice. Fi-
fiable unless it is clear from the face of the underly-      nally, the policy also undertakes to provide a de-
ing complaint that the allegations fail to state facts       fense:
that bring the case within, or potentially within, the         *440 “With respect to any occurrence covered by
policy's coverage. Wilkin, 144 Ill.2d at 73, 161               the terms and conditions of this policy, but not
Ill.Dec. 280, 578 N.E.2d 926.                                  covered, as warranted, by the underlying policies
                                                               listed in Schedule A hereof or not covered by any
     Turning to the policy at issue here, Internation-         other underlying insurance collectible by the in-
al's policy is a commercial umbrella policy that in-           sured, the company shall:
sures against general liability claims asserted by
third parties in excess of the coverage provided by              (a) defend any suit against the insured alleging
Dixon's general liability insurance carriers. While            such injury or destruction and seeking damages
International's policy is an excess policy, it acts as         on account thereof, even if such suit is ground-
primary insurance where the claim falls within the             less, false, or fraudulent; but the company may
policy's coverage, but not under any other primary             make such investigation, negotiation and settle-
policy issued to Dixon. Under the policy, coverage             ment of any claim or suit as it deems expedient.”
is provided for:
                                                                 [4] International first argues that because the
  “(a) Bodily Injury Liability,                              complaint alleged that Hanneken's termination was
                                                             “wilful, intentional and wrongful,” actual malice
  (b) Personal Injury Liability,                             was alleged. Therefore, International contends cov-
                                                             erage is excluded under the policy's definition of
  (c) Property Damage Liability, or                          “occurrence.”

  (d) Advertising Liability, arising out of an occur-             While International in its argument focuses on
  rence.”                                                    the language of the original complaint, containing
                                                             the allegations of a willful, intentional and wrong-
    Of the four areas of liability listed, only the
                                                             ful termination, the original complaint was dis-
category of personal injury liability is relevant to
                                                             missed, and an amended complaint was filed. The
the present appeal. “Personal Injury” is defined as
                                                             allegations contained in the original complaint are
an:
                                                             therefore of no relevance, and the focus should be
  “injury, such as but not limited to, libel, slander,
                                                             on the allegations in the amended complaint. See
  defamation of character, discrimination, false ar-
                                                             Pfaff v. Chrysler Corp. (1992), 155 Ill.2d 35, 61,
  rest, false imprisonment, wrongful eviction,
                                                             182 Ill.Dec. 627, 610 N.E.2d 51; see also Bowman
  wrongful detention, malicious prosecution or hu-
                                                             v. County of Lake (1963), 29 Ill.2d 268, 272, 193




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 19 ofPage
641 N.E.2d 395
                                                                        36 6
161 Ill.2d 433, 641 N.E.2d 395, 204 Ill.Dec. 171, 9 IER Cases 1261
(Cite as: 161 Ill.2d 433, 641 N.E.2d 395, 204 Ill.Dec. 171)




N.E.2d 833.                                                  allegations in the amended complaint cannot be
                                                             construed to mean actual malice, they do not fall
     **399 ***175 [5] Nowhere in the amended                 beyond the scope of the policy's coverage.
complaint is the term “actual malice” used, nor can
actual malice be inferred from the remaining allega-              [7] International next argues that it did not
tions in the complaint. The amended complaint                have a duty to defend Dixon because actual malice
characterized      Hanneken's      termination     as        is an element of retaliatory discharge. In order to
“intentional and in retaliation of and solely for the        recover under a claim of retaliatory discharge, In-
exercise of [his] rights under the Illinois Worker's         ternational maintains, a plaintiff must show the em-
Compensation Act.” Intentionally means “[t]o do              ployer acted with actual malice. Therefore, Interna-
something purposely, and not accidentally.”                  tional argues the definition of “occurrence,” which
(Black's Law Dictionary 810 (6th ed. 1990).) An              excludes coverage for offenses committed with ac-
act can be done intentionally without being con-             tual malice, excludes coverage for retaliatory dis-
sidered done with actual malice. Moreover, in-               charge. In support of this argument, International
cluded in the definition of personal injury are acts         cites Beltmann, and urges this court to follow our
that contain the element of intent. Were *441 we to          circuit court in adopting Beltmann 's analysis.
equate intentional conduct with actual malice, cov-
erage for certain intentional conduct would be                    *442 In Beltmann, the Seventh Circuit Court of
provided under the definition of personal injury and         Appeals construed an insurance policy to determine
then be taken away under the definition of occur-            whether it covered the defense of the insured in a
rence. This would render the definition of personal          retaliatory discharge action. The insurance policy's
injury superfluous and would create an ambiguity             coverage extended to “personal injury” arising out
where none exists. Although ambiguities in an in-            of an “occurrence.” In all relevant aspects, the
surance policy will be construed against the insurer,        policy defined these terms the same as Internation-
courts will not distort the language of a policy to          al's policy. The insurer in Beltmann contended that
create an ambiguity where none exists. Outboard,             it had no duty to defend the suit because of the
154 Ill.2d at 108-09, 180 Ill.Dec. 691, 607 N.E.2d           policy provision excluding offenses committed with
1204; Wilkin, 144 Ill.2d at 74, 161 Ill.Dec. 280, 578        actual malice.
N.E.2d 926; see Allstate Insurance Co. v. Boston
                                                                  To resolve this issue, the Beltmann court first
Whaler, Inc. (1987), 157 Ill.App.3d 785, 790, 110
                                                             turned to the language of the policy. Like Interna-
Ill.Dec. 149, 510 N.E.2d 1180.
                                                             tional's policy, the policy in Beltmann failed to
     [6] Likewise, the allegation that Hanneken's            define the term “actual malice.” Because of Illinois'
termination was in retaliation for filing workers'           choice of law, Minnesota law governed the con-
compensation claims cannot be construed to mean              struction of the term since the policy was issued in
actual malice. An essential predicate of a claim for         Minnesota. After reviewing Minnesota case law
retaliatory discharge is an allegation that the em-          construing malice, the court concluded:
ployer's conduct be in retaliation for the employee's
                                                               “Both actual and simple malice require that the
activities. The retaliatory nature of the discharge, in
                                                               defendant acted intentionally with knowledge
this context, does not mean that the discharge was
                                                               that her conduct was wrongful. Actual malice en-
committed with actual malice, but merely that the
                                                               tails the further component of an intent on the
discharge was causally related to the filing of the
                                                               part of the defendant to injure the plaintiff by the
workers' compensation claim. (See Hinthorn v. Ro-
                                                               wrongful act, or an affirmative[,] conscious and
land's of Bloomington, Inc. (1988), 119 Ill.2d 526,
                                                               intentional disregard of the specific consequences
529, 116 Ill.Dec. 694, 519 N.E.2d 909.) Since the
                                                               which are certain to injure the plaintiff as a result




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 20 ofPage
641 N.E.2d 395
                                                                        36 7
161 Ill.2d 433, 641 N.E.2d 395, 204 Ill.Dec. 171, 9 IER Cases 1261
(Cite as: 161 Ill.2d 433, 641 N.E.2d 395, 204 Ill.Dec. 171)




  of the wrongful act.” Beltmann, 883 F.2d at 568.           519 N.E.2d 909; Palmateer v. International Har-
                                                             vester Co. (1981), 85 Ill.2d 124, 134, 52 Ill.Dec.
     Because the alleged tort occurred in Illinois           13, 421 N.E.2d 876.) As the Beltmann court con-
and the underlying tort action was filed there, the          cluded, if actual malice exists, it must be contained
court turned to Illinois law to determine whether            within the second element.
that meaning of actual malice was an element of re-
taliatory discharge. The Beltmann court found that                [9] Nothing in Illinois case law, however, sug-
if actual malice existed within the elements of              gests that actual malice is incorporated within the
**400 ***176 retaliatory discharge it was con-               second element. As we previously noted, the re-
tained within the second element, which required             quirement that the discharge be in retaliation for
that the discharge be in retaliation for plaintiff's         plaintiff's activities merely requires that plaintiff al-
activities. The court then held that the retaliatory         lege the causal relationship between the employee's
nature of the discharge manifested an intent to in-          activities and the discharge. ( Hinthorn, 119 Ill.2d
jure or harm the plaintiff. Moreover, even if it             at 532, 116 Ill.Dec. 694, 519 N.E.2d 909.) Showing
could be argued that an employer did not intend to           such a causal relationship*444 does not require
harm the employee,*443 the employer knowingly                showing the discharge was committed with actual
disregarded the direct consequences of its improper          malice. Therefore, we find actual malice is not an
conduct by improperly discharging the employee,              element of a retaliatory discharge claim.
thus falling under the umbrella of actual malice.
Beltmann, 883 F.2d at 569.                                        International, however, contends a finding that
                                                             actual malice is not an element of retaliatory dis-
     Accordingly, the court found actual malice was          charge is inconsistent with this court's ruling in
subsumed within the elements of a retaliatory dis-           Kelsay v. Motorola, Inc. (1978), 74 Ill.2d 172, 23
charge claim. While it may not be an independent             Ill.Dec. 559, 384 N.E.2d 353, that punitive damages
factor, the Beltmann court found that actual malice          should be considered in the basic retaliatory dis-
was proved by satisfying the formal elements of the          charge action. Since International argues it would
tort. Because actual malice was a necessary com-             be impossible to make out a retaliatory discharge
ponent of retaliatory discharge and the insurance            case without proving one of the elements necessary
policy expressly excluded from coverage acts com-            to obtain punitive damages, International maintains
mitted with actual malice, the court found that the          actual malice is de facto proven in every retaliatory
insurance company had no duty to defend or indem-            discharge case.
nify the named insured. Beltmann, 883 F.2d at 569.
                                                                 The fundamental flaw in International's argu-
     [8] We disagree with Beltmann 's conclusion             ment is the assumption that punitive damages are
that, under Illinois law, once a plaintiff proves that       required in every retaliatory discharge action. In
his discharge was in retaliation for exercising a pro-       Kelsay, this court permitted punitive damages to be
tected right, he has de facto proved actual malice.          awarded in cases of retaliatory discharge, but only
To state a valid claim for retaliatory discharge, a          “[u]nder such circumstances, when the facts per-
plaintiff must establish that he was (1) discharged,         mit.” ( Kelsay, 74 Ill.2d at 187, 23 Ill.Dec. 559, 384
(2) in retaliation for his activities, and (3) that the      N.E.2d 353.) Neither Kelsay nor any other case
discharge violated a clear mandate of public policy.         mandate a punitive damages award. Evidence may
( Hartlein v. Illinois Power Co. (1992), 151 Ill.2d          be sufficient to support a finding of an employer's
142, 160, 176 Ill.Dec. 22, 601 N.E.2d 720; Beck-             impermissible conduct, based upon evidence of a
man v. Freeman United Coal Mining Co. (1988),                causal connection between the discharge and an
123 Ill.2d 281, 287, 122 Ill.Dec. 805, 527 N.E.2d            employee's activities, but not support the level of
303; Hinthorn, 119 Ill.2d at 529, 116 Ill.Dec. 694,          conduct necessary to sustain an award of punitive




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 21 ofPage
641 N.E.2d 395
                                                                        36 8
161 Ill.2d 433, 641 N.E.2d 395, 204 Ill.Dec. 171, 9 IER Cases 1261
(Cite as: 161 Ill.2d 433, 641 N.E.2d 395, 204 Ill.Dec. 171)




damages. Permitting punitive damages in retaliat-              Ill.App.3d at 719, 78 Ill.Dec. 541, 462 N.E.2d
ory discharge actions affects only the damages                 660.
available in the case. It does not affect the cause of
action itself or make an award of punitive damages                At the outset, we note that the statement in
a necessary consequence of the tort. Therefore, no           Rubenstein to which International relies is dictum.
inconsistency results in a finding that the tort of re-      Moreover, Davis does not support the proposition
taliatory discharge does not contain an element of           attributed to it in Rubenstein that insurance agree-
actual malice, but to recover punitive damages, ac-          ments indemnifying an insured for voluntary mis-
tual malice or a sufficient level of wilful and wan-         conduct are against public policy. Although Davis
ton conduct must be shown.                                   states that an agreement to indemnify against wilful
                                                             misconduct, would as a general rule, be contrary to
  **401 ***177 *445 B. Violation of Public Policy            public policy, the authority it cites *446 for this
     [10] International makes the additional argu-           proposition only prohibits a party from exempting
ment that if we determine, as we have, that Hannek-          oneself from tort liability for harm caused inten-
en's claim of retaliatory discharge potentially falls        tionally. Therefore, the agreement in Davis must
within the coverage of its policy that such coverage         have been seen by the court as exempting a party
violates public policy. It contends that since Kelsay        from liability, and does not support a rule prohibit-
found acts of retaliatory discharge offend public            ing an agreement by a third person to indemnify a
policy, insurance coverage against that offense              party against liability in tort. See Davis v. Common-
must also violate public policy. It further argues           wealth Edison Co. (1975), 61 Ill.2d 494, 500-01,
that such coverage is against public policy because          336 N.E.2d 881; Restatement (Second) of Contracts
it insures against intentional misconduct. In making         § 195, Comment b, at 66; 6A A. Corbin, Corbin on
this argument, International primarily relies on             Contracts § 1472, at 146 (Supp.1993); 15 S. Willis-
Rubenstein Lumber Co. v. Aetna Life & Casualty               ton, Contracts § 1750A (3d ed. 1972).
Co. (1984), 122 Ill.App.3d 717, 78 Ill.Dec. 541,
462 N.E.2d 660.                                                   [11] While Rubenstein does not support Inter-
                                                             national's argument, we recognize that it is gener-
     In Rubenstein, the appellate court considered           ally held that a contract of insurance to indemnify a
whether a workers' compensation insurance policy             person for damages resulting from his own inten-
provided coverage for the defense of a retaliatory           tional misconduct is void as against public policy
discharge action. After finding that the language of         and courts will not enforce such a contract. (See 9
the insurance policy did not cover such an action,           Couch on Insurance 2d § 39:15 (M. Rhodes rev.
the court stated in dictum:                                  1985); 6B J. Appleman & J. Appleman, Insurance
                                                             Law & Practice § 4252, at 5 (1979); Solo Cup Co.
  “Moreover, even if the policy was written to ex-           v. Federal Insurance Co. (7th Cir.1980), 619 F.2d
  pressly require defendant to defend and indemni-           1178, 1187; Hartford Life Insurance Co. v. Title
  fy plaintiff in the retaliatory discharge action, we       Guarantee Co. (D.C.Cir.1975), 520 F.2d 1170,
  believe that such a provision would be void as             1175; Industrial Sugars, Inc. v. Standard Accident
  against public policy, for it would be an attempt          Insurance Co. (7th Cir.1964), 338 F.2d 673, 676;
  to indemnify and insure the company for dam-               Northwestern National Casualty Co. v. McNulty
  ages resulting from its voluntary misconduct. An           (5th Cir.1962), 307 F.2d 432, 442; Isenhart v. Gen-
  agreement to indemnify or insure against one's             eral Casualty Co. of America (1962), 233 Or. 49,
  voluntary, not accidental, misconduct is against           53, 377 P.2d 26, 27.) Other than the dictum in
  public policy and unenforceable. See Davis v.              Rubenstein, International, however, does not cite
  Commonwealth Edison Co. (1975), 61 Ill.2d 494,             any Illinois case, statute or legislative directive spe-
  500-01, 336 N.E.2d 881 * * *.” Rubenstein, 122




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 22 ofPage
641 N.E.2d 395
                                                                        36 9
161 Ill.2d 433, 641 N.E.2d 395, 204 Ill.Dec. 171, 9 IER Cases 1261
(Cite as: 161 Ill.2d 433, 641 N.E.2d 395, 204 Ill.Dec. 171)




cifically holding that providing insurance coverage          Ill.,1994.
against liability for injuries resulting from inten-         Dixon Distributing Co. v. Hanover Ins. Co.
tional acts is void as against the public policy of          161 Ill.2d 433, 641 N.E.2d 395, 204 Ill.Dec. 171, 9
Illinois, nor does it advance any arguments for us to        IER Cases 1261
find that it does. (See University of Illinois v. Con-
tinental Casualty Co. (1992), 234 Ill.App.3d 340,            END OF DOCUMENT
359, 175 Ill.Dec. 324, 599 N.E.2d 1338 (finding
there is no Illinois public policy prohibiting insur-
ing for damages caused by *447 one's intentional
acts, except to the extent that the insured wrongdo-
er may not be the person who recovers the policy
proceeds).) In the absence of clearly articulated ar-
guments or authority, we decline to adopt the public
policy against insuring for damages resulting from
intentional misconduct here. Therefore,**402
***178 we conclude that interpreting Internation-
al's policy as providing coverage against retaliatory
discharge claims does not violate any established
public policy of this State. Further, we do not be-
lieve that allowing insurance coverage for retaliat-
ory discharge will undermine the recognition of the
tort of retaliatory discharge established in Kelsay.

            C. Violation of a Penal Statute
     [12] Finally, International argues that retaliat-
ory discharge is not a covered “occurrence” be-
cause it involves the “willful violation of a penal
statute.” Because International did not argue that
retaliatory discharge is a “willful violation of a pen-
al statute” when Dixon raised that argument in the
appellate court, International has waived the argu-
ment here. See Hammond v. North American Asbes-
tos Corp. (1983), 97 Ill.2d 195, 209-10, 73 Ill.Dec.
350, 454 N.E.2d 210.

                   CONCLUSION
     For the foregoing reasons, we conclude that the
retaliatory discharge action potentially falls within
the coverage of International's policy. As a result,
International breached its duty to defend, as stated
in the policy, by refusing to defend Dixon. The
judgment of the appellate court is therefore af-
firmed.

    Affirmed.




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 23 of 36
                                                                                                           Page 1




Caution
As of: Sep 09, 2011

               IN THE MATTER OF HORIZON VESSELS, INC., AS OWNER, and HORIZON
               OFFSHORE CONTRACTORS, INC., HORIZON OFFSHORE, INC., and TEXAS
               OFFSHORE CONTRACTORS CORP., AS OWNERS, OPERATORS, OWNERS
               PRO HAC VICE, of the L/B GULF HORIZON, PRAYING FOR EXONERATION
                FROM OR LIMITATION OF LIABILITY REGARDING THE INCIDENT OF
                                         FEBRUARY 27, 2003

                                               CIVIL NO. H-03-3280

                 UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF
                                   TEXAS, HOUSTON DIVISION

                                            2005 U.S. Dist. LEXIS 42110


                                             November 18, 2005, Filed

SUBSEQUENT HISTORY: Affirmed in part and                    For The Power Authority of the State of New York, Long
modified in part by, Adopted by, in part, Request denied    Island Lighting Company doing business as LIPA,
by In re Horizon Vessels, Inc., 2005 U.S. Dist. LEXIS       Claimants: James H Hohenstein, u, Holland Knight LLP,
42117 (S.D. Tex., Dec. 22, 2005)                            New York, NY; Mark Cohen, Richard Lee Gorman,
                                                            Cohen Gorman et al, Houston, TX; Vincent J Foley,
COUNSEL: [*1] For Horizon Vessels Inc, In the               Holland Knight, New York, NY.
Matter of Horizon Vessels Inc, as owner, and Horizon
Offshore Contractors, Inc., Horizon Offshore, Inc., and     For Iroquois Gas Transmission System LP, Claimant:
Texas Offshore Contractors Corp., as Owners Operators,      Michael Burke Hughes, McLeod Alexander Powel &
Owners Pro Hac Vice, of the L/B Gulf Horizon, Horizon       Apffel, Galveston, TX; Richard V Singleton, Healy &
Offshore Contractors Inc, Texas Offshore Contractors        Baillie LLP, New York, NY.
Corp, Horizon Offshore Inc, Plaintiffs: Charles A Cerise,
Jr, Adams Reese LLP, New Orleans, LA; Daryl G               For Thales GeoSolutions Inc, Claimant: Alan [*2] F
Dursum, Adams and Reese, LLP, Houston, TX; Edwin C          Kaufman, Amie S Murphy, Brendan E Zahner, John P
Laizer, Attorney at Law, New Orleans, LA.                   Doherty, John M Woods, Thacher Proffitt et al, New
                                                            York, NY; R Laurence Macon, Akin Gump Strauss
For Iroquois Gas Transmission System LP, Defendant:         Hauer & Feld, LLP, San Antonio, TX.
Michael Burke Hughes, McLeod Alexander Powel &
Apffel, Galveston, TX; Richard V Singleton, Healy &         For Factory Mutual Insurance Company, Claimant: Mark
Baillie LLP, New York, NY.                                  Cohen, Richard Lee Gorman, Cohen Gorman et al,
                                                            Houston, TX; Robert F Cossolini, Budd Larner PC, Short
   Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 24 of 36
                                                                                                               Page 2
                                          2005 U.S. Dist. LEXIS 42110, *2



Hills, NJ; Robert B Meola, Budd Larner, Short Hills, NJ.   MEMORANDUM,             RECOMMENDATION               AND
                                                           ORDER
For Iroquois Gas Transmission Systems, L.P., Iroquois
Gas Transmission Systems, L.P., Claimant: Michael               Presently pending before the court 1 is the motion of
Burke Hughes, McLeod Alexander Powel & Apffel,             Horizon Vessels, Inc., Horizon Offshore Contractors,
Galveston, TX; Richard V Singleton, Healy & Baillie        Inc., Horizon Offshore, Inc., and Texas Offshore
LLP, New York, NY.                                         Contractors Corp. (collectively "Horizon") for partial
                                                           summary [*4] judgment against Thales Geosolutions,
For Thales Geosolutions Inc, Counter Claimant: Alan F      Inc. ("Thales") 2, Thales' cross motion for summary
Kaufman, Amie S Murphy, Brendan E Zahner, John P           judgment against Horizon 3, Thales' motion for a
Doherty, John M Woods, Thacher Proffitt et al, New         continuance of Horizon's motion for partial summary
York, NY; R Laurence Macon, Akin Gump Strauss              judgment 4, and Thales' motion for leave to file a
Hauer & Feld, LLP, San Antonio, TX.                        third-party action against North Bank Towing
                                                           Corporation ("North Bank"). 5 The court has reviewed
For Horizon Vessels Inc, Horizon Offshore Contractors      the motions, all relevant filings by the parties, and the
Inc, Texas Offshore Contractors Corp, Horizon Offshore     applicable law. After doing so, the court
Inc, Counter Defendants: Charles A Cerise, Jr, Adams       RECOMMENDS that Horizon's motion for partial
Reese LLP, New Orleans, LA; Daryl G Dursum, Adams          summary judgment be GRANTED IN PART AND
and Reese, LLP, Houston, TX; Edwin C Laizer, Attorney      DENIED IN PART and that Thales' motion for
at Law, New Orleans, LA.                                   summary judgment be DENIED. The court further
                                                           DENIES Thales' motion for continuance and Thales'
For Horizon Vessels Inc, Horizon [*3] Offshore
                                                           motion for leave to file a third-party action against North
Contractors Inc, Texas Offshore Contractors Corp,
                                                           Bank.
Horizon Offshore Inc, Counter Claimants: Charles A
Cerise, Jr, Adams Reese LLP, New Orleans, LA; Daryl G              1    This case was referred to the undersigned
Dursum, Adams and Reese, LLP, Houston, TX; Edwin C                 magistrate judge pursuant to 28 U.S.C. §
Laizer, Attorney at Law, New Orleans, LA.                          636(b)(1)(A) and (B), the Cost and Delay
                                                                   Reduction Plan under the Civil Justice Reform
For Thales Geosolutions Inc, Counter Defendant: Alan F
                                                                   Act, and Federal Rule of Civil Procedure 72. See
Kaufman, Amie S Murphy, Brendan E Zahner, John P
                                                                   Docket Entry No. 16.
Doherty, John M Woods, Thacher Proffitt et al, New
                                                                   2 Docket Entry No. 121.
York, NY; R Laurence Macon, Akin Gump Strauss
                                                                   3 Docket Entry No. 133.
Hauer & Feld, LLP, San Antonio, TX.
                                                            [*5]
For Iroquois Gas Transmission System LP, Counter                   4 Docket Entry No. 132.
Defendant: Richard V Singleton, Richard V Singleton,               5 Docket Entry No. 150.
Healy & Baillie LLP, New York, NY.
                                                           I. Case Background
For Thales GeoSolutions Inc, Cross Defendant: Brendan
                                                                The court previously set out the factual backdrop of
E Zahner, Thacher Proffitt et al, New York, NY.
                                                           this case in its Order denying two motions to transfer
For Thales GeoSolutions Inc, Cross Claimant: Brendan E     venue and its Order denying the motion of the Power
Zahner, Thacher Proffitt et al, New York, NY.              Authority of the State of New York ("NYPA") and
                                                           Factory Mutual Insurance Company ("FMIC") for partial
JUDGES: Nancy K. Johnson, United States Magistrate         summary judgment (liability) against Iroquois Gas
Judge.                                                     Transmission Systems, L.P. ("Iroquois"). 6 Nevertheless,
                                                           a brief summary is warranted here for the sake of clarity.
OPINION BY: Nancy K. Johnson
                                                                   6 Docket Entry Nos. 77, 107.
OPINION
                                                               In April 2002, Iroquois hired Horizon to serve as the
                                                           general contractor for the Eastchester Extension Project
    Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 25 of 36
                                                                                                                     Page 3
                                            2005 U.S. Dist. LEXIS 42110, *5



(the "Project"). 7 The Project called for the construction     Survey Procedure for the Project, the purpose of which
of an extension to an existing sub-sea gas pipeline that       was to provide Thales with its "scope of work" for the
extended from North Port on Long Island, New York,             Project. 14 The Survey Procedure expressly stated that the
through the Long Island Sound, to an area adjacent to the      information supplied by Horizon superseded all Thales
border between Westchester and Bronx Counties. 8 On            documentation relating to the Project. 15 It further sets
January 8, 1999, Horizon [*6] entered into "Master             forth Thales' survey positioning expectations for the
Service Agreement No. 9803083" (the "MSA") with                Project, [*8] as follows:
Racal NCS, Inc. ("Racal"). 9 Pursuant to the MSA, Racal
agreed to perform pre-installation work and to act as the          4.3 Normal Laying
positioning surveyor for the Project. 10 Racal also agreed
to perform this work as an independent contractor. 11 In                  During Pipelay operations, the survey
that respect, the MSA states that Horizon did not have the            positioning requirements for the Thales
"right or authority to supervise or give instructions to the          personnel comprises all aspects of
employees, agents, or representatives of [Racal]" and that            positioning the lay barge, anchor handling
"such employees, agents or representatives at all times               and the pipelay process, including the
shall be under the direct and sole supervision of [Racal]."           following:
12 Subsequent to the execution of the MSA, Racal
                                                                           . Control and log the drop and
changed its name to Thales. 13
                                                                      recovery positions of all lay barge
       7 See Petitioners' Motion for Partial Summary                  anchors, lay down heads, etc[.], ensuring
       Judgment Against Thales Geosolutions, Inc.,                    that anchors are not laid within the 'safety
       Docket Entry No. 121, Ex. 3, Affidavit of David                zone' of any pipeline, cable or any other
       A. Kyle, 11 1-2.                                               hazard. . . .
       8 See Exhibits to Claimant Thales Geosolutions,
                                                                          . Monitor closely all barge and anchor
       Inc.'s Opposition to Petitioner's Motion for Partial
                                                                      handling tug/vessel positions, especially
       Summary Judgment Against Thales and
                                                                      during     critical   operations.  Record
       Cross-Motion for Summary Judgment ("Thales'
                                                                      positions of anodes, field joints.
       Cross-Motion"), Docket Entry No. 131, Ex. B to
       the Sworn Affidavit of John P. Doherty, Survey                     . Supply positioning information to
       Procedure.                                                     barge winch operators and anchor
[*7]                                                                  handling-tugs/vessels.
       9 See Petitioners' Motion for Partial Summary
       Judgment Against Thales Geosolutions, Inc.,                        . Inform barge staff of the approach of
       Docket Entry No. 121, Ex. 1, MSA.                              any crossings, boundaries, and any other
       10 See Petitioners' Motion for Partial Summary                 known hazards and obstructions.
       Judgment Against Thales Geosolutions, Inc.,
       Docket Entry No. 121, Ex. 3, Affidavit of David                    . Record accurately the times of all
       A. Kyle, P 9.                                                  events (whether routine or critical) as they
       11 See Petitioners' Motion for Partial Summary                 occur. 16
       Judgment Against Thales Geosolutions, Inc.,
       Docket Entry No. 121, Ex. 1, MSA.                       This provision unambiguously imposes upon Thales an
       12 Id.                                                  obligation to be involved in certain aspects of
       13 See Petitioner's Motion for Partial Summary          anchor-handling, including, but not limited to, logging
       Judgment Against Thales Geosolutions, Inc.,             and controlling the drop and recovery positions of the
       Docket Entry No. 121, Ex. 2, letter agreement           anchors on the Project, monitoring the positions [*9] of
       substituting Thales for Racal NCS, Inc., as the         the anchor-handling vessels on the Project, and supplying
       proper party to the MSA. This change was made           positioning information to the barge winch operator and
       effective on April 12, 2001.                            the anchor-handling tugs and vessels. 17

    On October 22, 2002, Horizon issued to Thales the                 14 See Exhibits to Thales' Cross-Motion, Docket
    Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 26 of 36
                                                                                                                     Page 4
                                            2005 U.S. Dist. LEXIS 42110, *9



       Entry No. 131, Ex. B to the Sworn Affidavit of          seeking indemnification for the damages associated with
       John P. Doherty, Survey Procedure, § 1.4.               the cable strike incident pursuant to an indemnification
       15 Id.                                                  provision in the MSA. 27 On June 13, 2005, Thales filed
       16 Id. at § 4.3.                                        its response and cross-motion for summary judgment. 28
       17 Id. 4
                                                                       26 Docket Entry No. 1.
     In order to complete its work on the Project, Horizon             27 Docket Entry No. 121.
utilized the GULF HORIZON to install and cover the                     28 Docket Entry No. 131.
pipeline under the seabed. 18 The GULF HORIZON
required the use of anchors and two tugboats, the MISS         II. Summary Judgment Standard
JESSICA and KRISTINA A., to assist her in moving
                                                                    A grant of summary judgment under the federal rules
along the pipeline route. 19 On February 27, 2003, during
                                                               is proper only when the evidence before the court fails to
a trip down the pipeline route, the GULF HORIZON
                                                               raise any genuine issues of material fact and the movant
allegedly dragged an anchor more than 1,000 feet and
                                                               is entitled to judgment as a matter of law. Fed. R. Civ. P.
damaged the "Y-49 Cable" that was owned by the NYPA.
                                                               56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322, 106 S.
20 Earlier that evening, Horizon dropped a 30,000 pound
                                                               Ct. 2548, 91 L. Ed. 2d 265 (1986). A dispute is "genuine"
central port ("CPI") anchor beyond the NYPA cables. 21
                                                               if the evidence would permit a reasonable jury to return a
The tensionometer on the CPI anchor was not working at
                                                               verdict in favor of the nonmoving [*12] party. Anderson
that time. 22 The [*10] GULF HORIZON began to turn
                                                               v. Liberty Lobby, Inc., 477 U.S. 242, 250, 106 S. Ct.
left as it moved along the pipeline route until, at
                                                               2505, 91 L. Ed. 2d 202 (1986); TIG Ins. Co. v. Sedgwick
approximately 8:11 p.m., the GULF HORIZON'S P2
                                                               James of Washington, 276 F.3d 754, 759 (5th Cir. 2002).
anchor cable broke due to excessive tension on its anchor
wire. 23 At 9:41 p.m., the Y-49 Cable had tripped                   The movant bears the initial burden of informing the
off-line. 24 At 11:58 p.m., the NYPA electric systems          court of the basis for a grant of summary judgment by
operator informed the NYPA representative onboard the          identifying relevant excerpts from pleadings, depositions,
GULF HORIZON that the NYPA cable tripped off-line              answers to interrogatories, admissions, and affidavits on
earlier that evening. 25                                       file that demonstrate the absence of a genuine issue of
                                                               material fact. Fed. R. Civ. P. 56(c); Celotex Corp., 477
       18 See Petitioners' Motion for Partial Summary
                                                               U.S. at 323; Topalian v. Ehrman, 954 F.2d 1125, 1131
       Judgment Against Thales Geosolutions, Inc.,
                                                               (5th Cir. 1992). Upon a showing that there is an absence
       Docket Entry No. 121, Ex. 3, Affidavit of David
                                                               of evidence to support an essential element of the
       A. Kyle, P 4.
                                                               non-movant's cause, the burden shifts to the non-movant
       19 Id. at PP 4-5.
                                                               to produce evidence demonstrating that a genuine issue of
       20 See Thales' Cross-Motion, Docket Entry No.
                                                               material fact does exist which must be resolved by a trier
       133, p. 4.
                                                               of fact. Fed. R. Civ. P. 56(e); Celotex, 477 U.S. at 324.
       21 See Exhibits to Thales' Cross-Motion, Docket
                                                               To satisfy this burden, the non-movant's evidence must
       Entry No. 131, Ex. D to the Sworn Affidavit of
                                                               raise more than mere "metaphysical doubt" about the
       John P. Doherty, Sworn Affidavit of Mark
                                                               material facts. Thomas v. Great Atl. and Pac. Tea Co.,
       Dreyer, P 22.
                                                               233 F.3d 326, 331 (5th Cir. 2000). [*13] Therefore, the
       22 See Exhibits to Thales' Cross-Motion, Docket
                                                               non-movant's conclusory allegations, unsubstantiated
       Entry No. 131, Ex. L to the Sworn Affidavit of
                                                               assertions, improbable inferences, and speculation are
       John P. Doherty, Iroquois Incident Report, § 4.0.
                                                               insufficient to raise a fact issue for trial. Brown v. City of
       23 Id. at § 2.0.
                                                               Houston, 337 F.3d 539, 541 (5th Cir. 2003). When
       24 Id.
                                                               determining whether the evidence in the record creates a
       25 Id.
                                                               fact issue, the court resolves all doubts and views all
      [*11] Horizon filed this action seeking exoneration      reasonable inferences drawn from the evidence in favor
from or, alternatively, limitation of liability with respect   of the non-movant. Liberty Lobby, 477 U.S. at 255;
to the cable strike incident. 26 On April 29, 2005, Horizon    Boston Old Colony Ins. Co. v. Tiner Assocs., Inc., 288
filed a motion for summary judgment against Thales             F.3d 222, 227 (5th Cir. 2002).
   Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 27 of 36
                                                                                                      Page 5
                                           2005 U.S. Dist. LEXIS 42110, *13



III. Analysis                                                      AND HOLD HARMLESS COMPANY
                                                                   FROM AND AGAINST ANY LOSS,
     Horizon argues that it is entitled to summary                 COST, CLAIM, OBLIGATION TO
judgment on its counterclaim for indemnification against           INDEMNIFY ANOTHER, LIABILITY,
Thales. Horizon contends the indemnification clause in             SUIT, JUDGMENT, AWARD OR
the MSA requires Thales to indemnify and defend                    DAMAGE,               INCLUDING
Horizon and Iroquois for any "third-party property                 REASONABLE ATTORNEY'S FEES
damage claims that are incident to or connected with the           AND EXPENSES, ON ACCOUNT OF
performance of Thales' work under the contract, the                SUCH ILLNESS, INJURY, DEATH,
breach thereof, or the presence of Thales' personnel and           LOSS OR DAMAGE, OR FOR
equipment at the location and work site, regardless of             REMOVAL OF WRECK OR DEBRIS
fault." 29 According to Horizon, this provision clearly and        WHETHER OR NOT COMPULSORY
unambiguously requires Thales to indemnify, defend                 BY LAW, OR FOR POLLUTION
[*14] and hold harmless Horizon and Iroquois for all               CAUSED BY SUBCONTRACTOR'S
damages resulting from the February 27, 2003, incident.            PERFORMANCE OF THE WORK OR
30 In response, Thales contends that it has no obligation          EMANATING                  FROM
to defend or indemnify Horizon or Iroquois because 1)              SUBCONTRACTOR'S      EQUIPMENT,
Thales' work did not cause or contribute and was not               WHICH ARE INCIDENT TO OR
otherwise incident to or connected with the cable strike           CONNECTED         WITH       THE
incident; and 2) even if it was, Horizon is solely                 PERFORMANCE OF THE WORK
responsible for the damage associated with the incident            UNDER THIS AGREEMENT OR
because it acted recklessly in anchoring the barge, in             BREACH     HEREOF      OR    THE
failing to monitor its dragging anchor and in failing to           PRESENCE      OF     EMPLOYEES,
ensure that the winch tensionometers of the CPI anchor             VESSELS, OR EQUIPMENT AT ANY
were properly functioning. 31                                      WORKSITE OR LOCATION OR
                                                                   TRANSPORTATION THEREOF TO OR
       29 See Petitioners' Motion for Partial Summary              FROM     ANY     WORKSITE     OR
       Judgment Against Thales Geosolutions, Inc.,                 LOCATION,     REGARDLESS      OF
       Docket Entry No. 121, pp. 12-13.                            WHETHER         CAUSED        OR
       30 Id.                                                      CONTRIBUTED TO BY NEGLIGENCE
       31 See Thales' Cross-Motion, Docket Entry No.               OR OTHER FAULT (INCLUDING
       133.                                                        SOLE, JOINT, CONCURRENT OR
                                                                   GROSS NEGLIGENCE) [OF] ANY OF
    A. The MSA's Indemnification Clause
                                                                   THE PARTIES INDEMNIFIED HEREIN
    Thales' indemnity obligations are set forth as follows         OR THEIR CONTRACTORS OR
in Paragraph 7.2 of the MSA:                                       SUBCONTRACTORS OF ANY [*16]
                                                                   TIER OR ANY OTHER THEORY OF
           SUBCONTRACTOR SHALL BE                                  LEGAL    LIABILITY,   INCLUDING
       LIABLE IN ANY CASE OF [*15]                                 STRICT LIABILITY, DEFECT IN
       ILLNESS, INJURY OR DEATH TO                                 PREMISES,     MATERIALS,      OR
       EMPLOYEES      AND      OTHER                               EQUIPMENT, "RUIN", OR THE
       PERSONNEL OF SUBCONTRACTOR                                  UNSEAWORTHINESS OR OTHER
       OR    ITS   CONTRACTORS     OR                              FAULT OF ANY VESSEL, OR DEFECT
       SUBCONTRACTORS [OF] ANY TIER                                IN ANY PREMISES, MATERIAL, OR
       OR IN ANY CASE OF LOSS OR LOSS                              EQUIPMENT, OR ANY OTHER
       OF USE OR DAMAGE TO ITS OR                                  ANTICIPATED OR UNANTICIPATED
       THEIR EQUIPMENT OR OTHER                                    EVENT    OR   CONDITION,    AND
       PROPERTY OR PROPERTY OF THIRD                               REGARDLESS       OF     WHETHER
       PARTIES. SUBCONTRACTOR SHALL                                PRE-EXISTING THE EXECUTION OF
       DEFEND, PROTECT, INDEMNIFY                                  THIS AGREEMENT. AS USED
   Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 28 of 36
                                                                                                                 Page 6
                                           2005 U.S. Dist. LEXIS 42110, *16



       HEREIN, "COMPANY" SHALL MEAN                           In Hicks v. Ocean Drilling and Exploration Co., 512 F.2d
       COLLECTIVELY COMPANY, ITS                              817 (5th Cir. 1975), the court held that an injury to a
       SUBSIDIARIES, AFFILIATES, AND                          subcontractor's roustabout occurred "in connection with"
       INTERRELATED COMPANIES, AND                            the subcontractor's performance of its work even though
       THEIR CUSTOMERS AND THEIR                              the activity that caused the injury was not related to the
       JOINT      VENTURERS       AND                         subcontractor's duties and occurred outside of the
       CO-LESSEES,     AND       THEIR                        premises described by the subcontractor's work orders.
       RESPECTIVE OFFICERS, DIRECTORS,                        Horizon contends that Thales' work is clearly connected
       EMPLOYEES,     AGENTS,     AND                         to the cable strike incident, particularly if this broad
       UNDERWRITERS, AND ANY AND                              construction applies.
       ALL VESSELS OWNED, CHARTERED,
       MANAGED, OR OPERATED BY ANY                                 In its cross-motion, Thales argues that this court
       OF THE FOREGOING. THE PARTIES                          should follow the Fifth Circuit's reasoning in Marathon
       INDEMNIFIED HEREIN SHALL HAVE                          Pipe Line Co. v. M/V SEAL LEVEL II, 806 F.2d 585 (5th
       THE RIGHT TO PARTICIPATE IN THE                        Cir. 1986), where the court appears to apply a more
       DEFENSE OF ANY INDEMNIFIED                             narrow construction to the "in connection with" language.
       CLAIMS AT THEIR OWN EXPENSE. 32                        In Marathon Pipe Line, Oceanonics, a survey company,
                                                              was hired to locate and mark submerged pipelines in
This clause unambiguously requires Thales to defend and       connection with a maritime construction [*19] project.
indemnify Horizon and its customers for property              Id. at 587. The captain of the vessel assisting with the
damage claims that are incident to or connected with          project decided to reposition the vessel and asked an
Thales' work under the MSA or the presence of Thales'         Oceanonics employee to verify the position of one of the
employees at the work site. Horizon argues that this          buoys. Id. The Oceanonics employee advised against
provision makes Thales responsible for the damages            dropping the anchor less than 1,000 feet away from the
arising from the February 2003 cable [*17] strike             pipeline. Id. at 587-88. The captain chose to ignore this
incident. 33 The court agrees.                                advice and, instead, dropped the anchor an estimated 400
                                                              feet away from the pipeline. Id. The anchor subsequently
       32 See Petitioners' Motion for Partial Summary         damaged the pipeline. Id.
       Judgment Against Thales Geosolutions, Inc.,
       Docket Entry No. 121, Ex. 1, MSA, P 7.2.                    The vessel owner sought indemnity from Oceanonics
       33 See Petitioners' Motion for Partial Summary         pursuant to an indemnity clause in the parties' contract.
       Judgment Against Thales Geosolutions, Inc.,            Id. at 590. The provision required Oceanonics to
       Docket Entry No. 121, p.13.                            indemnify the vessel owner for any "loss of property
                                                              occurring in connection with, arising out of, or in any
     The plain language of the indemnity provision            wise incident or related to Contractor's [Oceanonics']
requires Thales to indemnify Horizon only in the event        performing services and operations under this Contract,
that the claims asserted against Horizon are incident to or   regardless of whether caused by negligence of Company,
connected with Thales' work on the Project. The Fifth         and/or Primary Contractor, and/or contractors or
Circuit has consistently broadly construed language, such     subcontractors of either of said parties; . . . ." Id. at
as "in connection with", "incident to" and "arising under,"   590-91. The court made clear that a contractor could not
in the context of indemnity agreements. See Fontenot v.       be required to "protect other subcontractors [*20] from
Mesa Petroleum Co., 791 F.2d 1207 (5th Cir. 1986). In         their own negligence when that negligence was
fact, the Fontenot court cites to a "long line of Fifth       independent of the performance of [contractor's]
Circuit decisions" that have implemented this broad           contract." 34 The court further held that the limit of a
construction. Id. at 1214. By way of example, in Hobbs v.     contractor's potential liability extends only to accidents
Teledyne Movible Offshore, Inc., 632 F.2d 1238 (5th Cir.      that might occur during the contractor's performance of
1980), [*18] the court held that an injury sustained by a     its contractual services. Id. at 591. Thus, the court
contractor's employee while being transported by a crane      appears to restrict the reach of the in connection with
from the drilling rig to the crew boat "arose out of" the     language to cover incidents that might occur during the
contractor's performance of its drilling services contract.   contractor's performance of its contractual services.
    Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 29 of 36
                                                                                                                   Page 7
                                            2005 U.S. Dist. LEXIS 42110, *20



       34 Id.                                                  anchors of the various vessels." 38 This task included
                                                               monitoring the positions of the vessels and their anchors
     In light of the applicable Fifth Circuit precedent set    and notifying GULF HORIZON personnel of any
forth above, to prevail in its motion for summary              obstructions located in the areas where work was being
judgment, Horizon must proffer sufficient evidence to          performed. 39 Horizon further argues that Thales'
show that the damage to the NYPA cable occurred in             survey/positioning personnel and equipment were aboard
connection with Thales' work on the Project. To that end,      the barge and [*23] the anchor-handling tugs at the time
Horizon argues in its motion that the damage relating to       of the accident. 40 Finally, Horizon notes that Thales
the accident "is directly connected with the performance       agreed to defend and indemnify Horizon and Iroquois in
of Thales' work under the contact" because "it is alleged      a separate anchor/cable damage action relating to this
to have been caused by one of the anchors of the L/B           Project and involving the same indemnification
GULF HORIZON [*21] coming into contact with the                provision. 41
cable while Thales was serving as the positioning
surveyor for the barge and its anchors pursuant to the                38 See Petitioners' Motion for Partial Summary
MSA." 35                                                              Judgment Against Thales Geosolutions, Inc.,
                                                                      Docket Entry No. 121, p.10. Horizon refers to the
       35 See Petitioners' Motion for Partial Summary                 Survey Procedure as the technical procedures for
       Judgment Against Thales Geosolutions, Inc.,                    the Project.
       Docket Entry No. 121, p. 14.                                   39 Id.
                                                                      40 See Petitioners' Motion for Partial Summary
    B. Thales' Scope of Work on the Project                           Judgment Against Thales Geosolutions, Inc.,
                                                                      Docket Entry No. 121, p. 14.
     The court agrees with Horizon that the alleged
                                                                      41 See Petitioners' Motion for Partial Summary
incident occurred in connection with Thales' work on the
                                                                      Judgment Against Thales Geosolutions, Inc.,
Project. The Survey Procedure, which Horizon
                                                                      Docket Entry No. 121, p. 16. Thales
distributed to Thales, expressly states that its purpose is
                                                                      acknowledges that it agreed to defend and
"to describe the specific survey methods and procedure to
                                                                      indemnify Horizon and Iroquois with respect to
fulfill the scope of work" on the Project. 36 Section 4.3 of
                                                                      another cable strike incident that occurred in
the Survey Procedure makes Thales responsible for,
                                                                      November 2002. See Thales' Cross-Motion,
among other things, controlling and logging the drop and
                                                                      Docket Entry No. 133, p. 16, n.5. However,
recovery positions of the anchors, monitoring the barge
                                                                      Thales argues that, with respect to that action,
and anchor-handling tug/vessel positions, supplying
                                                                      Thales admitted liability solely because the vessel
positioning information to the barge winch operators and
                                                                      placed an anchor in the middle of another cable
anchor-handling vessels/tugs, and informing barge staff
                                                                      field in violation of project guidelines and Thales'
of the approach to any crossings, boundaries, [*22] and
                                                                      survey system failed to depict the cables. Id.
any known hazards and obstructions. 37 Even under
Marathon Pipe Line's more narrow construction of the                  Thus, Thales contends that the facts of this case
                                                                      are materially different.
"in connection with" language, the damage to the NYPA
cable occurred well within Thales' scope of work for the             [*24] Thales argues that its scope of work on the
Project and, thus, was connected with the performance of       Project was more limited than the guidelines set out in
Thales' work on the Project.                                   the Survey Procedure. Specifically, in his affidavit,
                                                               Thales surveyor, Mark Dreyer ("Dreyer") asserts that
       36 See Exhibits to Thales' Cross-Motion, Docket
                                                               Thales' was solely responsible for ensuring that: 1) its
       Entry No. 131, Ex. B to the Sworn Affidavit of
                                                               survey equipment, which consisted of a computer and
       John P. Doherty, Survey Procedure, § 1.4.
                                                               other electronic equipment, was in proper working order;
       37 Id. at § 4.3.
                                                               2) its surveyor would identify and monitor the position
    In addition to submitting the Survey Procedure into        and heading of Horizon's barge, the GULF HORIZON,
evidence, Horizon argues that Thales was responsible for       on a continuous basis; 3) its surveyor would operate and
"providing the positioning and survey information              maintain the Thales computer system in the GULF
necessary for the safe placement and recovery of the           HORIZON tower; 4) its surveyor would calculate
   Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 30 of 36
                                                                                                                  Page 8
                                           2005 U.S. Dist. LEXIS 42110, *24



proposed anchor drop locations based on the data              foreman was the individual on the GULF HORIZON who
provided by the Horizon anchor foreman and display            was primarily responsible for monitoring anchor
those positions on the computer screen; and 5) its            relocation. 48 Thomas Rybarski, one of the investigators
surveyor would record the positions where anchors were        who prepared the cable strike incident report, likewise
dropped and recovered. 42                                     testifies that Thales was not capable of tracking the
                                                              position of the anchors via its survey monitors and, thus,
       42 See Exhibits to Thales' Cross-Motion, Docket        could not have possibly determined whether the anchors
       Entry No. 131, Ex. D to the Sworn Affidavit of         were dragging that day. 49 In addition, Thales introduces
       John P. Doherty, Sworn Affidavit of Mark               Horizon's Anchor/Mooring Procedures, which provide
       Dreyer, 1! 9-13. In his affidavit, Mark Dreyer         that the tower foreman was "responsible for all
       ("Dreyer") explains that the Thales survey system      anchor-handling activities". 50 These procedures likewise
       could display several types of data onto a             provide that the anchor operators were responsible for
       computer screen, including, but not limited to,        operating the anchor winches; monitoring anchor
       "(1) the positions of the GULF HORIZON and             positions relative to the GULF HORIZON via tension
       her support tug boats in the Long Island Sound in      meters, footage counters and survey positions; and
       real time; (2) the locations where the GULF            advising the tower foreman of extraordinary anchor
       HORIZON'S anchors had been dropped and                 requirements or any problems with the holding station or
       proposed anchor drops; (3) the pipeline route; and     barge movement. 51 It is noteworthy [*27] that the
       (4) the features of the sea floor in the pipeline      Horizon Anchoring/Mooring procedures make the
       corridor, like boulders, shipwrecks, and power         surveyor, Thales in this instance, responsible for advising
       cables." Id. at P 10.                                  the tower foreman when approaching avoidance targets,
                                                              logging all anchor drop and recovery systems, assuring
     [*25] In addition, Dreyer surmised that Horizon had      compliance with the anchor drop position and assuring
the ability to monitor the anchor locations on the date of    compliance with the "no anchor" zones. 52 In other
the incident, in that at least four Thales monitors were      words, even these procedures impose upon Thales an
located in the GULF HORIZON tower that day. 43                obligation to ensure that the GULF HORIZON's anchors
Dreyer recounts that Walter Dunham ("Dunham"), the            were properly handled.
Horizon anchor foreman, Tony Doyle ("Doyle") and Don
Ramsey ("Ramsey"), the Horizon anchor winch                           47 See Exhibits to Thales' Cross-Motion, Docket
operators, and Glen Chaffey ("Chaffey"), the Iroquois                 Entry No. 131, Ex. G to the Sworn Affidavit of
surveyor, all had access to a Thales survey monitor. 44               John P. Doherty, Deposition of Michael Ballard,
These monitors were located at the Thales surveyors'                  and Ex. B, Survey Procedure, § 1.4.
work station, the Horizon anchor foreman's work station,              48 See Exhibits to Thales' Cross-Motion, Docket
the winch operators' work station and the plow operators'             Entry No. 131, Ex. G to the Sworn Affidavit of
work station. 45 Dreyer testified there were also                     John P. Doherty, Deposition of Michael Ballard,
additional Thales computer monitors located in the                    pp. 225-26.
bridges of the tugs. 46                                               49 See Exhibits to Thales' Cross-Motion, Docket
                                                                      Entry No. 131, Ex. J to the Sworn Affidavit of
       43   Id.                                                       John P. Doherty, Deposition of Thomas Rybarski,
       44   Id. at P 19.                                              pp. 233-34.
       45   Id. at P 10.                                              50 See Exhibits to Thales' Cross-Motion, Docket
       46   Id.                                                       Entry No. 131, Ex. H to the Sworn Affidavit of
                                                                      John P. Doherty, Horizon's Anchor/Mooring
     Thales offers further evidence that its scope of work
                                                                      Procedures, Appendix
on the Project was restricted to surveying the location for
                                                              [*28]
anchor pick up and drop locations. First, Thales
                                                                      51 Id.
introduces the [*26] deposition of Michael Ballard
                                                                      52 Id.
("Ballard"), the Construction Manager for the Project. 47
He testifies that not only were Thales' obligations with          Thales further contends its personnel did not: 1)
respect to the Project limited to monitoring the pick up      supervise or control anchoring operations; 2) decide
and drop locations of the anchors, but that the anchor
   Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 31 of 36
                                                                                                                   Page 9
                                           2005 U.S. Dist. LEXIS 42110, *28



where anchors should be placed; 3) operate the anchor                John P. Doherty, Sworn Affidavit of Mark
winches or otherwise maintain the anchor equipment; 4)               Dreyer, P 20.
have the authority to order that an anchor be dropped or
retrieved; 5) oversee or approve anchor recovery or                According to Thales, Horizon had an obligation to
otherwise provide advice regarding when an anchor             monitor the location of the anchor between the time that
should be recovered; or 6) have the obligation to know        it was placed on the seabed and the time that it was
when an anchor was dragging or holding. 53 In fact,           recovered. Thales argues that it properly recorded the
Thales asserts it "did not have any specific                  location for the placement of the CP1 anchor and that this
responsibilities in connection with recovering GULF           location was approved by both the Horizon anchor
HORIZON's anchors, other than to record the position of       foreman and the Iroquois surveyor. 57 Subsequent to that
the [GULF] HORIZON tug retrieving that anchor." 54            point, Horizon's anchor foreman and winch operators had
Despite Thales' repeated contentions that the cable strike    access to Thales' monitoring devices at all times and
incident was not related to its work on the Project, the      failed to notice the dragging CP1 anchor. 58 Thales
court finds that Thales was required to adhere to its scope   contends that this failure to monitor the anchors makes
of work as defined by the Survey Procedure for the            Horizon solely responsible for the cable strike incident. 59
Project. The Survey Procedure unambiguously required
                                                                     57 Id. at P 22.
Thales to take responsibility for certain aspects of
                                                                     58 Id. at P 19.
anchor-handling on the GULF HORIZON. Thus, the
                                                                     59 See Thales' Cross-Motion, Docket Entry No.
damage to the [*29] NYPA cable occurred in connection
                                                                     133, pp. 10-11.
with or was otherwise incident to Thales' work on the
Project.                                                            [*31] Thales submits Dreyer's affidavit in support
                                                              of its argument that Horizon had sole control of the
        53 See Exhibits to Thales' Cross-Motion, Docket
                                                              GULF HORIZON and its anchors. In his affidavit,
        Entry No. 131, Ex. D to the Sworn Affidavit of
                                                              Dreyer testifies that, at approximately 9:52 p.m., he heard
        John P. Doherty, Sworn Affidavit of Mark
                                                              the Horizon anchor foreman, Dunham, order the MISS
        Dreyer, PP 14-18.
                                                              JESSICA to recover the CP1 anchor. 60 Dreyer had
        54 Id. at P 15.
                                                              observed that the tugboat's position was close to one of
    C. The Indemnification Provision in the MSA               the NYPA cables and notified Dunham of that fact. 61
Requires Thales to Indemnify Horizon For Horizon's            Dreyer recounts that Dunham was a few feet away from
Sole Negligence                                               the survey screen, which displayed the locations of the
                                                              MISS JESSICA and the NYPA cables, and that Dunham
     Thales argues that it should not be obligated to         told him he was aware of the situation. 62 According to
indemnify Horizon because Horizon was solely                  Dreyer, Dunham then "put his finger to his mouth and
responsible for the cable strike incident. First, Thales      told [Mr. Dreyer] to 'shush.'" 63 Dreyer proceeded to
notes that the tensionometer of the CP1 anchor, which         recover the CP1 anchor without discussing the
gauges the tension on an anchor wire and is used to           implications with the Iroquois surveyor, the GULF
determine whether the anchor is holding or dragging, was      HORIZON superintendent or the captain of the MISS
not properly functioning at the time of the alleged           JESSICA. 64 The CP1 anchor was recovered at 9:52 p.m.
incident. 55 Thales further argues that Horizon should        65 Although the evidence appears to indicate that the
have been on notice that the CP1 anchor could potentially     NYPA cable strike incident occurred prior to the time
drag because the GULF HORIZON's anchors had                   that the CPI anchor was recovered, Thales points to the
dragged repeatedly on the date of the alleged incident. 56    encounter between its surveyor and the Horizon anchor
                                                              foreman as a clear indication that [*32] Horizon was
        55 See Exhibits to Thales' Cross-Motion, Docket       solely in control of the GULF HORIZON's anchors. 66
        Entry No. 131, Ex. E to the Sworn Affidavit of
        John P. Doherty, Deposition of Larry Blalock, pp.            60 See Exhibits to Thales' Cross-Motion, Docket
        173-75.                                                      Entry No. 131, Ex. D to the Sworn Affidavit of
[*30]                                                                John P. Doherty, Sworn Affidavit of Mark
        56 See Exhibits to Thales' Cross-Motion, Docket              Dreyer, P 24.
        Entry No. 131, Ex. D to the Sworn Affidavit of               61 Id.
   Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 32 of 36
                                                                                                                   Page 10
                                           2005 U.S. Dist. LEXIS 42110, *32



       62 Id.                                                 argues that it is required to indemnify Horizon and
       63 Id.                                                 Iroquois only with respect to "negligence or other fault
       64 Id. at P 25.                                        (including sole, joint, concurrent or gross negligence),"
       65 See Thales' Cross-Motion, Docket Entry No.          but that its obligation does not include a duty to
       131, Ex. L to the Sworn Affidavit of John P.           indemnify Horizon or Iroquois for Horizon's reckless
       Doherty, Iroquois Incident Report, § 2.0.              conduct. 69 The court finds that Horizon mischaracterizes
       66 Id. The incident report makes clear that the        the plain language of the MSA. More specifically, the
       damage to the NYPA cable occurred eleven               indemnity provision requires Thales to indemnify
       minutes prior to the time that Thales recorded the     Horizon for any damage "caused or contributed to by
       pickup location of the cable and also prior to the     negligence or other fault (including sole, joint, concurrent
       commencement of MISS JESSICA'S anchor                  or gross negligence) . . . strict liability . . . or any other
       recovery operations.                                   theory of legal liability . . . ." 70

    Thales also submits into evidence Iroquois' answers               68 Id. at p. 20.
to Thales' interrogatories, in which Iroquois states that             69    Id. at pp. 20-21. Thales argues that both
Horizon was "responsible in whole for the damage to the               Texas and maritime law distinguish reckless
Y-49 cable", that Horizon was solely responsible for                  conduct from negligent conduct, noting that
anchor-handling and that Horizon's crew was "in sole                  "reckless conduct 'requires a conscious choice of
control of the vessel and her anchors when the event                  action, either with knowledge of serious danger to
[*33] occurred" aboard the GULF HORIZON. 67                           others or with knowledge of facts which would
                                                                      disclose the danger to a reasonable person." Id.
       67 See Exhibits to Thales' Cross-Motion, Docket        [*35]
       Entry No. 131, Ex. I to the Sworn Affidavit of                 70 See Petitioners' Motion for Partial Summary
       John P. Doherty, Iroquois' Response to NYPA's                  Judgment Against Thales Geosolutions, Inc.,
       Interrogatories, p.11.                                         Docket Entry No. 121, Ex. 1, MSA, P 7.2. Thales
                                                                      cites an unreported decision, In Matter of Torch,
     Despite Thales' repeated allegations that it is not              Inc., 1996 U.S. Dist. LEXIS 5053, Nos. 94-2300,
obligated to indemnify Horizon because Horizon was                    95-1982, 1996 WL 185765 (E.D. La. 1996), for
solely responsible for the GULF HORIZON and its                       the proposition that the indemnity provision in the
anchors, the MSA requires Thales to indemnify Horizon                 case at bar does not require Thales to indemnify
even for Horizon's sole negligence so long as the damage              Horizon for Horizon's reckless conduct. The
occurred in connection with or was otherwise incident to              provision     in    Torch,     however,      required
Thales' work on the Project. As stated above, the court               indemnification in the case of the "contractor's
finds that the cable strike incident occurred in connection           sole fault or liability, the concurrent fault or
with the performance of Thales' work on the Project                   liability of contractor and Texaco, or Texaco's
because the Survey Procedure delegates at least a portion             sole fault and liability, whether such fault is based
of the anchor-handling responsibilities on the GULF                   on a theory of negligence, strict liability, or both."
HORIZON to Thales. Accordingly, the court finds that                  Id. at * 8. The court finds that the Torch
Thales' scope of work was clearly defined in the Survey               indemnity provision is significantly narrower than
Procedure and that it unambiguously required Thales to                the provision in the case at bar and, thus, finds
monitor the location of the GULF HORIZON anchors.                     Torch inapplicable to this matter.
     [*34] D. The Indemnification Provision in the                 The plain language of this provision unambiguously
MSA Requires Thales to Indemnify Horizon For                  imposes upon Thales an obligation to defend and
Horizon's Reckless Conduct                                    indemnify Horizon even if Horizon engaged in reckless
                                                              conduct with respect to the alleged incident. Although
    Thales contends that even if the court finds that
                                                              [*36] Thales offers sufficient evidence that Horizon
Thales' work is related to the incident, Thales still does
                                                              failed to monitor the location of the dragging CP1 anchor
not have a duty to defend and indemnify Horizon and
                                                              and that Horizon failed to utilize a properly functioning
Iroquois because the MSA's indemnity provision does not
                                                              tensionometer, the court cannot adequately determine
cover Horizon's reckless conduct. 68 Specifically, Thales
    Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 33 of 36
                                                                                                                  Page 11
                                            2005 U.S. Dist. LEXIS 42110, *36



whether Horizon's conduct rises to the level of                    F. Horizon's Entitlement to Attorneys' Fees Under
recklessness. Moreover, the court finds that Thales            the MSA's Indemnification Provision
agreed to indemnify Horizon even if it engaged in such
reckless conduct.                                                   With respect to attorneys' fees, Horizon argues that it
                                                               is entitled to partial summary judgment awarding
   E. The Indemnification Provision Requires Thales            Horizon and Iroquois "all attorneys' fees and costs
to Indemnify Horizon and Iroquois for their                    expended to date and to be expended in the future in
Contractual Obligations to Indemnify Others                    defending the claims for which Thales owes defense and
                                                               indemnity," as well as all reasonable attorneys' fees and
     Thales argues that even if it is obligated to indemnify   costs associated with the enforcement of the defense and
Horizon and Iroquois under the MSA, it is not obligated        indemnity provision in the MSA. 72 The Fifth Circuit has
to indemnify Horizon for its contractual obligations to        held that a contract of indemnity includes an obligation to
Iroquois or Iroquois for its contractual obligations to        pay the costs and attorneys' fees of the indemnitee against
NYPA. The court once again disagrees with Thales'              a third party, but not the right to costs and fees expended
argument. The plain language of the indemnification            in connection with establishing the right to
provision provides that Thales must indemnify Horizon          indemnification unless expressly stated. See Lirette v.
"against any loss, cost, claim, obligation to indemnify        Popich Bros. Water Transport, Inc., 699 F.2d 725, 728
another, liability, suit, judgment, award or damage,           (5th Cir. 1983) (stating that the duty to indemnify
including reasonable attorney's fees and expenses,"            includes the payment of costs and attorneys' fees);
arising out of or occurring in connection with Thales'         Weathersby v. Conoco Oil Co., 752 F.2d 953, 959 (5th
work on the Project. 71                                        Cir. 1984) (stating, "Under [*39] a general indemnity
                                                               agreement . . ., the indemnitee enjoys no right to recover
       71 See Petitioners' Motion for Partial Summary          its legal fees incurred in establishing its right to
       Judgment Against Thales Geosolutions, Inc.,             indemnification."). Accordingly, pursuant to the
       Docket Entry No. 121, Ex. 1, MSA, P 7.2.                indemnification provision in the MSA, the court finds
                                                               that Horizon and Iroquois are entitled to an award of
      [*37] It is clear from the plain language of this
                                                               attorneys' fees and costs for defending the claims for
provision that Thales and Horizon did not intend to limit
                                                               which Thales owes defense and indemnity. The court
in any way Thales' duty to defend and indemnify Horizon
                                                               declines to award attorneys' fees and costs that arose in
and Iroquois. See Corbitt v. Diamond M. Drilling Co.,
                                                               connection with enforcement of the defense and
654 F.2d 329, 333 (5th Cir. 1981) (finding that an
                                                               indemnity provision in the MSA.
indemnification provision did not cover contractual
obligations where it required indemnification "against all            72 See Petitioner's Motion for Partial Summary
claims, suits, liabilities and expenses on account of injury          Judgment Against Thales Geosolutions, Inc.,
or death of persons . . ." because such damages sound                 Docket Entry No. 121, p. 18.
exclusively in tort). Furthermore, although the
indemnification provision in the MSA does not expressly             Based on the foregoing, the court RECOMMENDS
reference the terms "contract" or "contractual obligation",    that Horizon's motion for partial summary judgment be
the Fifth Circuit has made clear that a contract need not      GRANTED IN PART AND DENIED IN PART and
contain these "magic" words in order to create a right of      that Thales' cross-motion for summary judgment be
indemnity for independent contractual liabilities. Id.; see    DENIED.
also Sumrall v. Ensco Offshore Co., 291 F.3d 316 (5th
Cir. 2002). The indemnification provision at issue             IV. Thales' Motion for a Continuance of Petitioner's
unambiguously requires Thales to indemnify Horizon and         Motion for Summary Judgment Against Thales
Iroquois once either party becomes obligated to
indemnify a third party. Accordingly, based on the                  Thales moves to continue consideration of Horizon's
applicable Fifth Circuit precedent, the court finds that       [*40] motion for summary judgment in order to depose
Thales and Horizon [*38] have expressed a clear                the Horizon and Iroquois representatives that were on
intention that Thales indemnify Horizon and Iroquois for       duty in the GULF HORIZON tower on the date of the
their contractual obligations.                                 alleged incident. 73 Thales argues that these individuals
                                                               have "knowledge of Thales' limited role on the GULF
    Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 34 of 36
                                                                                                                  Page 12
                                            2005 U.S. Dist. LEXIS 42110, *40



HORIZON and of the warning from the Thales surveyor                    Id.
to the Horizon anchor foreman." 74                             [*42]
                                                                       77 Id. at p.8.
       73    See Claimant Thales GeoSolutions, Inc.'s                  78    Docket Entry No. 179, Amended Docket
       Motion for a Continuance of Petitioner's Motion                 Control Order. Thales incorrectly asserts in its
       for Partial Summary Judgment Against, Docket                    motion that the discovery deadline is February 10,
       Entry No. 132.                                                  2004. See Defendant Thales Geosolutions, Inc.'s
       74 Id.                                                          Motion for Leave to File Third Party Action
                                                                       Against North Bank Towing Corporation and
     Although the court agrees that Horizon may have                   Memorandum in Support, Docket Entry No. 150,
engaged in a careless course of conduct on the date of the             p.10.
alleged incident, Thales is bound by its agreement with
Horizon, including the scope of work defined in the                 NYPA, The Long Island Lighting Company d/b/a
Survey Procedure. Thus, the court finds that any further       LIPA and FMIC (collectively the "Utility Claimants")
discovery with respect to the cause of the cable strike        filed a response, in which they argue that granting Thales'
incident is unnecessary because the damages relating to        untimely motion will result in undue delay and prejudice
the incident clearly occurred in connection with Thales'       to the parties. 79 Specifically, the Utility Claimants
work on the Project. Accordingly, the court DENIES             contend that the joinder of North Bank at this stage of the
Thales' [*41] Motion to Continue.                              litigation will result in months of delay because counsel
                                                               for North Bank will likely seek to re-depose the factual
V. Thales' Motion for Leave to File Third-Party                witnesses that have already been examined and will
Action Against North Bank                                      require additional time to review the approximately
                                                               200,000 documents that have been produced by the
     On August 1, 2005, Thales filed its motion for leave
                                                               parties to date. 80 The Utility Claimants further contend
to file a third-party action against North Bank. 75 In this
                                                               that Thales "failed to conduct any meaningful
motion, Thales argues that it has legitimate claims against
                                                               investigation to determine whether evidence exist[ed]
North Bank, the owner of the MISS JESSICA, because it
                                                               [*43] to pursue a claim for contribution and/or
is currently in dispute whether MISS JESSICA's retrieval
                                                               indemnification against North Bank" even though it
of the CP1 anchor caused the damage to the power cable.
                                                               should have been aware that the MISS JESSICA
76 Thales likewise asserts that it has timely filed this
                                                               contained survey monitors on the date of the alleged
motion because it was not aware of North Bank's
                                                               incident because such equipment "was installed by
potential liability as it relates to this action until April
                                                               Thales' personnel prior to the commencement of the
2005, when a former Thales employee informed Thales'
                                                               project in November 2002." 81 Finally, the Utility
counsel that the MISS JESSICA may have had a survey
                                                               Claimants contend that Thales has no basis to pursue a
system onboard that could detect the position of the tug
                                                               claim against North Bank in good faith because the
relative to the NYPA cable on the date of the incident. 77
Finally, Thales argues that the parties will not be            evidence does not suggest that the MISS JESSICA
                                                               caused or contributed to the cable damage, nor is Thales
prejudiced by the filing of a third-party action because
                                                               able to identify any party that has claimed that the MISS
the discovery deadline for this action is on April 10,
                                                               JESSICA is somehow responsible for the incident. 82
2006, months away from the time that Thales filed its
motion. 78                                                             79 Docket Entry No. 160.
                                                                       80 Id.
       75 Docket Entry No. 150.
                                                                       81 Id. at p. 7 and Ex. E, Deposition of Mark
       76 Id. at pp. 2-3. Thales makes clear its belief
                                                                       Dreyer, pp. 351-53.
       that although "the evidence in this case
                                                                       82 Id. at pp. 7-8.
       demonstrates that the anchor had already damaged
       the power cable [eleven] minutes earlier, certain
                                                                    Federal courts have discretion to allow a party to file
       parties to this action have asserted that the MISS      a third-party action against a "person not a party to the
       JESSICA's retrieval of the CPI anchor at 9:52           action who is or may be liable" for all or a part of the
       p.m. may have caused damage to the power cable          plaintiff's claim. 83 Although Thales [*44] asserts that
       and, on that basis, North Bank should be a party."
   Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 35 of 36
                                                                                                                Page 13
                                           2005 U.S. Dist. LEXIS 42110, *44



the "MISS JESSICA acted improperly and in                         For the reasons discussed above, the court
contravention of good maritime practice in recovering the     RECOMMENDS that Horizon's motion for partial
CP1 anchor and, in doing so, may have damaged the             summary judgment be GRANTED IN PART AND
NYPA Cable," Thales fails to present any evidence that        DENIED IN PART and that Thales' cross-motion for
the MISS JESSICA is in any way responsible for the            summary judgment be DENIED. The court further
damages associated with the alleged incident. 84 Instead,     DENIES Thales' motion for a continuance Thales'
Thales merely states in its motion that "certain parties to   motion for leave to file third-party action against North
this action have asserted that the MISS JESSICA's             Bank.
retrieval of the CPI anchor at 9:52 p.m., may have caused
damage to the power cable." 85 Thales' conclusory                  The Clerk shall send copies of this Memorandum,
statement, unsupported by any evidence in the record,         Recommendation and Order to the respective parties,
fails to raise a genuine issue of fact. Accordingly, the      who have ten days from the receipt thereof to file written
court DENIES Thales' motion for leave to file a               objections thereto pursuant to General Order 2002-13.
third-party action against North Bank.                        Failure to file written objections within this time period
                                                              shall bar an aggrieved party from attacking the factual
        83     FED. R. CIV. P. 14(a). This practice is        findings and legal conclusions on appeal.
        available in admiralty and maritime actions as
        well. See FED. R. CIV. P.14(c).                           The original of any written objections shall be filed
        84 See Defendant Thales Geosolutions, Inc.'s          with the United States District Court Clerk, P.O. Box
        Motion for Leave to File Third Party Action           61010, Houston, Texas, 77208. Copies of any such
        Against North Bank Towing Corporation and             objections shall be mailed to opposing parties and to the
        Memorandum in Support, Docket Entry No. 150,          chambers of the undersigned, 515 Rusk Avenue, Suite
        p.7.                                                  7019, Houston, Texas, 77002.
[*45]
                                                                  Nancy K. Johnson
        85 Id. at p.3.
                                                                  United States Magistrate [*46] Judge
VI. Conclusion
  Case 2:10-md-02179-CJB-DPC Document 4457-54 Filed 11/01/11 Page 36 of 36


                                                                      100366
********** Print Completed **********

Time of Request: Friday, September 09, 2011   20:12:10 EST

Print Number:    2829:305494769
Number of Lines: 671
Number of Pages: 13




Send To:   MUNSON, DAN
           MUNGER TOLLES & OLSON - TRANS
           355 S GRAND AVE FL 35
           LOS ANGELES, CA 90071-1560
